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                        UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF NEW YORK


 In re Golden,                                     Chapter 7

                               Debtor.             Case No. 16-40809 (ESS)


 Tashanna B. Golden f/k/a Tashanna B.              Adv. Pro. No. 17-1005 (ESS)
 Pearson,

                               Plaintiff,

                 v.

 National Collegiate Student Loan Trust 2006-4,
 GS2 2016-A, Pennsylvania Higher Education
 Assistance Authority d/b/a American Education
 Services and Firstmark Services,

                               Defendants.




       TRUST DEFENDANTS’ MEMORANDUM OF LAW IN OPPOSITION TO
             PLAINTIFF’S MOTION FOR CLASS CERTIFICATION




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and Goal Structured Solutions Trust 2016-A
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        Defendants National Collegiate Student Loan Trust 2006-4 and Goal Structured Solutions

Trust 2016-A, incorrectly sued as GS2 2016-A, (collectively, the “Trust Defendants”) submit this

Memorandum of Law in Opposition to Plaintiff Tashanna Golden’s Motion for Class Certification

(the “Motion”):1

                                     PRELIMINARY STATEMENT

        This putative class action involves Plaintiff’s sweeping allegations that Defendants have

systematically and unlawfully sought to collect on certain student loans that should have been

discharged in bankruptcy because the loans exceeded the borrowers’ “costs of attendance” at the

institutions they attended. As a result, Plaintiff contends, the loans were not “qualified education

loans” and were not exempt from discharge under Bankruptcy Code Section 523(a)(8)(B). Plaintiff

now asks the Court to certify the following litigation class:

        Individuals who received private loans owned, held, or serviced by Defendants
        which were not within the cost of attendance at Title IV institutions as defined in
        26 U.S.C. § 221(d); who obtained bankruptcy discharges after October 17, 2005;
        who were subsequently subjected to Defendants’ acts to collect on the loans; and
        who have not reaffirmed their loans.

(Pl. Br., p. 6).2 She claims certification is proper under Federal Rules of Civil Procedure

23(b)(1)(A), Rule 23(b)(2), or Rule 23(b)(3). (Id. at p. 8).

        The Court should deny Plaintiff’s motion because Plaintiff fails to demonstrate that her

proposed class meets even the threshold requirements of Rule 23(a), much less the heightened

requirements of any subsection of Rule 23(b).

        First, Plaintiff fails to define an ascertainable class of student borrowers on whose behalf

she would pursue these claims. Her class definition turns on “cost of attendance,” an amount that


1
 In addition to the arguments raised below, the Trust Defendants adopt and incorporate by reference the arguments
and statements of fact set forth by co-defendants in their respective oppositions to the Motion.
2
 References to “Pl. Br.” are to Plaintiff’s Memorandum of Law in Support of Her Motion for Class Certification, Dkt.
255.

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is individualized for every student borrower. In order to determine any student borrower’s “cost

of attendance,” the Court and the parties will need to undertake a series of mini-trials and make a

series of individual determinations on a borrower-by-borrower basis. The same type of inquiry

will then need to be made to determine whether a borrower has a loan that exceeded his or her

“cost of attendance” and, if so, which loan. These investigations must be done before a borrower

can even be identified as a member of the proposed class. Despite three years of discovery and

contested litigation, the parties still dispute whether Plaintiff herself has a loan that exceeded her

applicable “cost of attendance” – a number that Plaintiff has not calculated consistently.

       Plaintiff’s attempts to convince the Court otherwise wither under scrutiny. Her claim that

all student loans are presumptively discharged in bankruptcy and that Defendants need to prove a

debtor’s loan was not discharged is legally incorrect. In fact, student loans are presumptively non-

dischargeable. Plaintiff is improperly trying to shift the burden to Defendants to prove who is not

in the class instead of carrying her burden, imposed by Rule 23, to properly define who is.

       Plaintiff also fails in her attempts to manufacture common sources of information about

“cost of attendance” and individual student borrowers’ loan details. The supposed “cost of

attendance” information Plaintiff points to does not in fact reflect what “cost of attendance”

actually is. The common loan information Plaintiff claims exists, does not. And, she provides

nothing more than her unsubstantiated assertions as support that it does.

       Second, Plaintiff does not satisfy the explicit requirements of Rule 23(a). Plaintiff fails to

demonstrate that she would adequately represent the class. Plaintiff does not demonstrate that she

has a loan that exceeded her “cost of attendance,” which means that she does not demonstrate that

she is a member of her own proposed class. And, because it will require mini-trials to determine

who is a potential class member, there are no common issues. Plaintiff fails even to demonstrate



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that the class as she has defined it – borrowers with loans that exceeded their individual “cost of

attendance” – is sufficiently numerous.

       Third, the proposed class does not fit within any subsection of Rule 23(b).

       Rule 23(b)(3) is not applicable because individualized questions predominate. These

questions include not just those relating to “cost of attendance” and what loans a potential class

member had, but also questions relating to individual borrowers’ tax and bankruptcy treatment of

their loans and whether or not a specific loan is non-dischargeable under other provisions of

Section 523(a)(8). It also means that class treatment is not superior. The ramifications of the

answers to some of these questions demand that individual borrowers have the ability to control

their own cases.

       Rule 23(b)(2) is also not satisfied. The main thrust of Plaintiff’s case is money damages.

Plaintiff herself does not have standing to seek an injunction. And, because there are no common

issues, the class is not cohesive in a way that permits an injunction class.

       Nor can a class be certified under Rule 23(b)(1). Again, the case seeks restitution and

money damages, which precludes this type of class. The proposed class is also rife with individual

issues. Plaintiff’s request to certify under Rule 23(b)(1) is a clear attempt to end run the obvious

individualized questions that are present everywhere in this case.

       For these reasons certification is unwarranted and Plaintiff’s motion must be denied.

                                    STATEMENT OF FACTS

       Plaintiff attended the University Pennsylvania Carey School of Law (“Penn Law School”)

between 2005 and 2008. (Declaration of Tashanna Golden (“Golden Decl.”), Dkt. No. 247, ¶ 2).

To finance her education, Plaintiff took out a number of private and federal education loans each

year. (Amended Complaint (“Am. Compl.”), Dkt. No. 32, ¶¶ 29-30, 36-37). Plaintiff also received

various grants and scholarships during the course of her time in law school. (Id., ¶¶ 29, 36).
                                                  3
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Plaintiff alleges that three of her private education loans she exceeded her “cost of attendance” for

Penn Law School during academic years 2006-07 and 2007-08. (Id., ¶¶ 30, 36-37).

        Those three loans are:

                $6,500 from JPMorgan Chase for academic year 2006-07, which totalled $7,103
                 once fees were included (the “NCT Loan”).

                $583 from Citibank for academic year 2007-08 (the “CitiAssist Grad./Prof. Loan”).

                $11,000 from Citibank in February 2008 to pay for the costs of her preparation for
                 the bar examination (the “CitiAssist Bar Loan”).3

        In 2017, Plaintiff filed this adversary proceeding, alleging that these loans were discharged

in bankruptcy because with her federal loans and scholarships they exceeded the cost of attendance

for Penn Law School and are therefore not “qualified education loans.” (Id.).

        As it concerns Plaintiff, and her Penn Law School loans, she alleges that the cost of

attendance for the 2006-07 academic year was $53,500. (Id. at ¶ 28). In her declaration in support

of her motion for summary judgment, she states that the cost of attendance for that year was

$48,464. (Golden Decl., ¶ 3). Penn Law School reports that its average Estimated Student Budget,

which it equates to “cost of attendance,” for academic year 2006-07 was $56,380. (Ex. G, ¶ 5). 4

        So far as her 2006-07 federal loans, Plaintiff alleges in her Amended Complaint and repeats

in her declaration that she obtained $27,500 in federal loans. (Am. Compl., ¶ 29; Golden Decl., ¶

4). But, Penn Law School’s records show that she only borrowed $24,500 in federal loans. (Ex.

F). Plaintiff also alleges in her Amended Complaint that she received $22,440 in scholarships and

grants for academic year 2006-07. (Am. Compl., ¶ 29). But, she states in her Declaration that she



3
 These loans are described in greater detail in the Trust Defendants’ Memorandum in Opposition to Plaintiff’s Motion
For Partial Summary Judgment. (See Dkt. No. 336, pp. 3-8). The Trust Defendants incorporate those descriptions by
reference here.
4
 Citing references to “Ex.__” refer to the exhibits attached to the Declaration of Gregory T. Casamento, dated June
29, 2021, submitted in support of this memorandum.

                                                         4
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received $21,640 in scholarships and grants. (Golden Decl., ¶ 4). Penn Law School’s records

reflect that Plaintiff in fact received $19,440. (Ex. F).

        For the 2007-08 academic year Plaintiff alleges Penn Law School’s cost of attendance was

$56,380. (Am. Compl., ¶ 35). Plaintiff’s declaration is silent regarding the 2007-08 cost of

attendance. But, again, Penn Law School reports a materially higher number: $59,660. (Ex. G, ¶

6). Plaintiff alleges in her Amended Complaint that she borrowed “$52,347 from the federal

government in student loans and received another $12,850 in scholarships and grants” in 2007-08.

(Am. Compl., ¶ 36). Although Plaintiff’s declaration is silent about her 2007-08 federal loans,

scholarships and grants, Penn Law School’s records show she had received $26,500 in federal

loans and $12,150 in grants and scholarships that academic year. (Ex. F). Plaintiff alleges that she

was never issued a 1098-E tax form to deduct the interest payments made on any of the above-

referenced private student loans. (Am. Compl., ¶ 38). However, for 2013 to 2016, the four years

leading up to this suit Plaintiff took substantial deductions pursuant to IRS Code Section 221. (See

Ex. A). Plaintiff does not recall which student loans those deductions were tied to, but, when asked

directly, she cannot not deny that the deduction was claimed on one or more of the three loans at

issue here. (Id.).

                                            ARGUMENT

        Class action lawsuits are an exception to the general rule “that litigation is conducted by

and on behalf of the individual named parties only.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S.

338, 348 (2011) (quoting Califano v. Yamasaki, 442 U.S. 682, 700–701 (1979)). As such, they

implicate numerous due process concerns for both the putative class members and the defendants.

See Phillips Petroleum Co. v. Shutts, 472 U.S. 797, 806-14 (1985).

        Rule 23 ensures that these risks, for both groups, are minimized by imposing certain

requirements for certification. A plaintiff must demonstrate that she and the proposed class meet
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all the requirements of Rule 23(a), and at least one of the requirements of Rule 23(b), before a

class may be certified. Dukes, 564 U.S. at 345; see also Gen. Tel. Co. of the Northwest v. EEOC,

446 U.S. 318, 330 (1980); Teamsters Local 445 Freight Div. Pension Fund v. Bombardier Inc.,

546 F.3d 196, 201-202 (2d Cir. 2008); In re IPO Sec. Litig., 471 F.3d 24, 32 (2d Cir. 2006); Ruffo

v. Adidas America, Inc., No. 15-cv-5989, 2016 WL 4581344, at *1 (S.D.N.Y. Sept. 2, 2016).

       Rule 23(a) imposes four requirements. See FED. R. CIV. P. 23 (a). These requirements—

numerosity, commonality, typicality, and adequate representation—“effectively ‘limit the class

claims to those fairly encompassed by the named plaintiff’s claims.’” Gen. Tel. Co. of the

Southwest v. Falcon, 457 U.S. 147, 156 (1982) (quoting Gen. Tel. Co. of the Northwest, 446 U.S.

at 330). In the Second Circuit, a plaintiff must also meet Rule 23’s implicit, threshold requirement

that the members of the class be ascertainable and definite. In re Petrobras Sec., 862 F.3d 250,

264 (2d Cir. 2017); Brecher v. Republic of Argentina, 806 F.3d 22, 24 (2d Cir. 2015).

       If a plaintiff can satisfy the requirements of Rule 23(a), a court will then analyze whether

the requirements of Rule 23(b) have been met. Courts will only turn their “attention to Rule 23(b)

after [they are] certain that all of Rule 23(a)’s requirements ha[ve] been met.” Bell v. PNC Bank

Nat’l Ass’n, 800 F.3d 360 (7th Cir. 2015). Rule 23(b) enumerates three categories of class action

lawsuits that may be maintained. See FED. R. CIV. P. 23 (b).

       Importantly, “Rule 23 does not set forth a mere pleading standard.” Dukes, 564 U.S. at

350; Myers v. Hertz Corp., 624 F.3d 537, 547 (2d Cir. 2010). The party seeking certification bears

the burden of establishing by a preponderance of the evidence that each of Rule 23’s requirements

has been met. Myers, 624 F.3d at 547 (citing Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 614

(1997); Teamsters Local 445, 546 F.3d at 202—03). It is a strict burden that requires “evidentiary

proof.” Comcast Corp. v. Behrend, 569 U.S. 27, 33 (2013). A court may not blindly rely on



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conclusory allegations to certify a class. See Dukes, 564 U.S. at 351-352; Ruffo, 2016 WL

4581344, at *2; Brown v. Kelly, 609 F.3d 467, 476 (2d Cir. 2010); Teamsters Local 445, 546 F.3d

at 204.5

         Plaintiff has not provided any evidence that there is an ascertainable class. In fact, the

evidence demonstrates the opposite. Determining who is a class member requires extensive

discovery and a mini-trial for everyone who obtained a private student loan now owned by the

Trust Defendants, and who completed bankruptcy. This failing echoes through every Rule 23(a)

requirement. And, it means that Plaintiff’s proposed class does not meet any of the requirements

of Rule 23(b). Plaintiff’s motion should be denied.

I.       The Proposed Class Is Not Ascertainable.

         The Second Circuit requires a proposed class to be objectively defined and definite.

Petrobras, 862 F.3d at 264; Brecher, 806 F.3d at 24. There can be no class litigation “without a

clear sense of who is suing about what.” Petrobras, 862 F.3d at 269. This requirement is known

as “ascertainability.” Id. at 264. It is an absolute standard. Id. at 269. That means a class is

ascertainable or it is not; it is not a comparative exercise.

         The “touchstone of ascertainability is whether the class is sufficiently definite so that it is

administratively feasible for the court to determine whether a particular individual is a member.”

Brecher, 806 F.3d at 24 (internal quotations omitted). This means a class must be:

         “sufficiently definite” and “defined by objective criteria” so that “it is
         administratively feasible for the court to determine whether a particular individual
         is a member” (a superiority concern) and so that “identifying [the class’s] members
         would not require a mini-hearing on the merits of each case” (a predominance
         concern).


5
 The analysis must “begin[], of course, with the elements of the underlying cause of action.” Erica P. John Fund, Inc.
v. Halliburton Co., 563 U.S. 804, 809 (2011). A “court must understand the claims, defenses, relevant facts, and
applicable substantive law in order to make a meaningful determination of the certification issues.” Castano v.
American Tobacco Co., 84 F.3d 734, 744 (5th Cir. 1996).

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Petrobras, 862 F.3d at 269 n. 20 (citing Brecher, 806 F.3d at 24) (emphasis added). The

ascertainabilty requirement resolves “a particularly vexing type of class defect that would cause a

proposed class to founder on the shoals of predominance, superiority, or both.” Id. It is “a guiding

principle for the otherwise murky analysis of classes that, though ostensibly defined by objective

criteria, nonetheless present fatal challenges of determinability.” Id.

        Stated more simply: the members of a class must be “identifiable, such that the court can

determine who is in the class and, thus, bound by the ruling” without the need to assess each

putative class member’s entitlement to be part of the class. Weiner v. Snapple Beverage Corp.,

No. 07-cv-8742-DLC, 2010 WL 3119452, at *12 (S.D.N.Y. Aug. 5, 2010). A court may not

certify a class “if there is no focused target for litigation, [because] the class itself cannot coalesce,

rendering the class action an inappropriate mechanism for adjudicating any potential underlying

claims.” Petrobras, 862 F.3d at 269.

        As with all the other aspects of Rule 23, the party seeking class certification bears the

burden of establishing by a preponderance of the evidence that a class is ascertainable. See Royal

Park Investments SA/NV v. Deutsche Bank Nat’l Tr. Co., No. 14-cv-4394-AJN, 2018 WL 1750595,

* 2 (S.D.N.Y. April 11, 2018); Myers, 624 F.3d at 547 (citing Amchem Prods., 521 U.S. at 614;

Teamsters Local 445, 546 F.3d at 202–03).

        While ascertainability is oftentimes a modest hurdle – e.g., a group that includes everyone

who entered into a certain form contract or paid a certain fee – it is one that Plaintiff fails to clear

here. Plaintiff fails to demonstrate how she will show who actually had a student loan (or loans)

that “were not within the cost of attendance” – the defining characteristic of her proposed class.

Indeed, if the Court certifies Plaintiff’s proposed class, it will require borrower-by-borrower

litigation, including discovery to third parties like the school the borrower attended, to determine



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who qualifies to be in the class before notice of the lawsuit can even be sent to those potential

members. Plaintiff’s own pending summary judgment motion, where Plaintiff has been unable to

articulate a consistent “cost of attendance” that she believes her loans exceeded, illustrates the

flaws and hurdles presented by Plaintiff’s proposed class definition. (See generally, Dkt. No.

336). Plaintiff’s proposed class is a perfect example of the “particularly vexing type of class

defect” that causes a “proposed class to founder on the shoals of predominance, superiority, or

both.” Petrobras, 862 F.3d at 269, n. 20.

        A.      Mini-Trials Are Necessary To Determine Who Is
                (And Is Not) A Member Of The Proposed Class.

        Plaintiff’s claims sit at the intersection of Section 1187ll of the Higher Education Act (20

U.S.C. § 1087ll), Section 221 of the IRS Code (26 U.S.C. § 221), and Bankruptcy Code §

523(a)(8)(B) (11 U.S.C. § 523(a)(8)(B)). Plaintiff contends that her claims depend on a simple

arithmetic question – subtract a loan from the “cost of attendance” – and only require a simple,

ministerial process. (Pl. Br., p. 27). In reality, it is anything but simple.

        In order to be able to do Plaintiff’s math there are at least six individualized questions that

need to be answered for each potential class member. First, the Court must calculate a borrower’s

“cost of attendance” based on the definition contained in Section 1087ll. Second, the Court must

determine the borrower’s stack of student loans. Third, the Court must determine what scholarships

and grants the borrower had. Fourth, the Court must order and classify each of the loans the

borrower had to determine which loans have priority over which. Fifth, the Court must assess

where each loan fits in relation to the others and in relation to the borrower’s “cost of attendance.”

Sixth, the Court must then compare the “cost of attendance,” the scholarships and grants, and each




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individual loan to determine whether a particular loan exceeded the borrower’s “cost of

attendance.”6

         All of these inquiries must be resolved before a borrower can say whether they have a loan

that exceeded their “cost of attendance” and they are in the class. And, that assumes the information

necessary to make such calculations is even available. As demonstrated by Defendants’ inquiries

to Plaintiff, and outlined more fully below, Plaintiff could not provide the information necessary

to complete this analysis. If Plaintiff is typical, each of the inquiries will be contested.

         This Court cannot determine “who is in the class and, thus, bound by the ruling” without

making the above series of determinations on a potential class member by potential class member

basis. Weiner, 2010 WL 311942, at *12; Brecher, 806 F.3d at 24. Each plaintiff specific set of

determinations is a mini-proceeding to determine who is even in the class.

                   1.       “Cost Of Attendance” Is A Student-Specific Number
                            And Requires Individualized Inquiries.

          “Cost of attendance” is the defining component of Plaintiff’s proposed class. The text of

Section 1087ll and the evidence adduced, however, demonstrate that “cost of attendance” is a

highly individualized number for each student borrower. This means that in order to determine a

student’s “cost of attendance,” the Court must make a student-specific, fact-intensive inquiry.

                            a.        Section 1087ll Makes Clear That
                                      “Cost Of Attendance” Is Individualized.

         Section 1087ll lists thirteen different categories of expenses, some including sub-

categories, which are used to calculate an individual student’s “cost of attendance.” See 20 U.S.C.

§ 1087ll.7 That means a student’s “cost of attendance” is constructed from up to thirteen different


6
 Beyond these six inquiries, the Court must also determine whether a loan that exceeded the “cost of attendance” is
non-dischargeable under a provision of Section 523(a)(8) besides Section 523(a)(8)(B), e.g., Section 523(a)(8)(A)(i).
7
  The text of 20 U.S.C. 1087ll is too long to reasonably quote in its entirety. A copy of the current version of the statute
is attached this brief as Appendix A.

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variables (not including sub-categories). Not every student will have expenses in every category.

And, different students who were at the same school at the same time will check different boxes.

For example, one student may have dependent care expenses allowable under Section 1087ll (8),

while another may not. But, that second student may have a disability and be entitled to include

expenses related to that disability under Section 1087ll (9) and may have loans with origination

fees allowed under Section 1087ll (12). These students – attending the same school at the same

time – will have different “costs of attendance.” The categorical variation that is possible borrower

to borrower from these thirteen inputs is massive.

       A review of the individual categories in Section 1087ll show there is further variability

within each particular category. For example, Section 1087ll(1) permits inclusion of:

       (1)     tuition and fees normally assessed a student carrying the same academic
               workload as determined by the institution, and including costs for rental or
               purchase of any equipment, materials, or supplies required of all students in
               the same course of study

An allowance for a student’s tuition is part of “cost of attendance,” but that allowance is not set

across a particular institution. Instead it reflects “tuition and fees normally assessed a student

carrying the same academic workload … in the same course of study.” 20 U.S.C. 1087ll (1)

(emphasis added). Students in different courses of study at the same school can have different

allowances for tuition.

       The dependent care allowance may have even greater variability. Section 1087ll (8) states:

       (8)     for a student with one or more dependents, an allowance based on the
               estimated actual expenses incurred for such dependent care, based on the
               number and age of such dependents, except that—

               (A)        such allowance shall not exceed the reasonable cost in the
                          community in which such student resides for the kind of care
                          provided; …




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This language clearly contemplates multiple allowances. It looks to number of dependents (“one

or more”), the “estimated actual expense incurred” and “the kind of care provided.” Id. (emphasis

added). A student with multiple dependents who require specialized services will be entitled to a

larger allowance than a student with a single child who requires no services; they will both be

entitled to a greater allowance than a student with no dependents.

       The allowance for a student with disability drives the point home. Section 1087ll(9) allows:

       (9)     for a student with a disability, an allowance (as determined by the
               institution) for those expenses related to the student’s disability, including
               special services, personal assistance, transportation, equipment, and
               supplies that are reasonably incurred and not provided for by other assisting
               agencies;

Thus, in determining the “cost of attendance” for a student with a disability the school must

account for the specific expenses associated with that student’s particular disability, which

includes a review of what aid the student is eligible for from “other assisting agencies.” A student

diagnosed with an anxiety disorder will have very different allowable expenses than a student who

has a physical disability and requires assistance in order to attend class.

       And, it makes perfect sense that the statute would operate to individualize a student’s “cost

of attendance.” If it did not, students with dependents (or for that matter disabilities) would be

disadvantaged in financing their education and would not be able to deduct the interest on their

loans. See In re Murphy, 282 F.3d 868, 872 (5th Cir. 2002) (noting Federal loan programs calculate

“the ‘costs of attendance’ by including allowances for ‘room and board,’ 20 U.S.C. § 1087ll(3),

‘miscellaneous personal expenses,’ 20 U.S.C. § 1087ll(2), and child care, 20 U.S.C. § 1087ll(8).

The [Federal Family Education Loan Program]’s need analysis assumes that loans must cover a

full-time student’s living expenses so that he has the time and energy to study and attend classes.”)

The variation is meant to ensure that a student who has family obligations, or is disabled, or even

simply has the opportunity to study abroad, still has the ability to fund his or her education.
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                           b.        The Testimonial Evidence Confirms That Every Student Has
                                     An Individual “Cost Of Attendance.”

         Given the plain language of Section 1087ll, it is no surprise that the witness testimony

supports the individualized and variable nature of students’ “costs of attendance.” It also

demonstrates how “cost of attendance” actually functions in the real world.

         Elaine Varas, the Senior University Director of Financial Aid at the University of

Pennsylvania, where Plaintiff attended law school, testified that a student’s cost of attendance is

the amount that a particular student is determined to be eligible to receive to pay for his or her

education. According to Ms. Varas, who has more than thirty-six years’ experience administering

financial aid at four different institutions,8 a student’s cost of attendance includes:

         components such as tuition, required fees, room and board, which is housing and
         dining, and then miscellaneous expenses, which include things like personal
         allowances and transportation.

(See Ex. B, p. 24:12-18). Ms. Varas testified that it can include childcare expenses and medical

expenses not covered by insurance. (See Ex. B, pp. 44:23-45:8, 44:17-22). She testified that it can

include health insurance.9 (See Ex. B, pp. 119:19-120:7, 121:3-8).

         This leads to different, student-specific “costs of attendance.” Ms. Varas agreed that

students in different colleges at a university, and even students in different degree programs within

the same school, might have different tuitions and fees, and thus different “costs of attendance”

depending on what they are studying. 10 (See Ex. B, p. 35:8-25). Room charges vary depending on


8
 University of Pennsylvania, Drexel University, Rutgers University Biomedical Health Sciences, and the University
of Medicine and Dentistry of New Jersey. (See Ex. B, pp. 22:5-10, 15:5-16:25).
9
 At the University of Pennsylvania, students who do not have health insurance are required to purchase it from the
university, which can run into the thousands of dollars and thereby increase that individual students cost of attendance
by that amount. (See Ex. B, pp. 44:12-45:8).
10
   Plaintiff suggests that these differences are rare and refers to them as administrators using “professional judgment.”
“Professional judgment” refers to situations where the allowance that is tied to a particular category of Section 1087ll
is changed for an individual student. Plaintiff misses the point. There are different allowances that are set by schools
in a single category. For example, the tuition allowance an engineering student might get is different than the tuition
allowance a theater major might get. The Trust Defendants are not talking about the “professional judgment” that

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whether a student lives on campus, off campus or at home; the charges can vary even within the

same category. (See Ex B, pp. 39:10-41:20). Dining charges also differ; at the University of

Pennsylvania, where Plaintiff attended and obtained the loans at issue, there is a variation of up to

$9,000 per year between meal plans. (See Ex. B, pp. 41:21-42:13). This is significant because,

although she concedes little, Plaintiff acknowledges that room and board is part of a student’s “cost

of attendance” per Section 1087ll.

        This is entirely consistent with the conclusions reached above about the variability in “cost

of attendance” based on the plain language of Section 1087ll. The school is putting the provisions

of the statute into practice. Each student is assigned his or her own specific “cost of attendance,”

and when determining the “cost of attendance” for a particular student the financial aid office

ensures that it assessed the correct amounts to that student. (See Ex. B, pp. 86:15-87:9). If there

were a one-size-fits-all cost of attendance, like Plaintiff claims, none of this would be necessary.

                 2.      Student-Specific Analysis Is Also Required To
                         Calculate A Student’s Loans And Scholarships.

        The second critical component necessary to determine if a borrower can be a class member

is the body of loans, scholarships and grants that borrower received. This is what needs to be

compared to the student’s “cost of attendance” in order to determine whether one of the student

loans exceeded his or her “cost of attendance.” The loan component of the comparative calculation

is subject to variation as well. That variation comes not just from the number of loans, or their

amounts, but also the type of loans and when they were made. Scholarships and grants create the

same issue.




might be applied to raise Engineering Student A’s tuition allowance above what Engineering Students B’s through
Z’s normal tuition allowances are because Student A has a special circumstance not enumerated in Section 1087ll.
That is an entirely different individualized inquiry.

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         Take Plaintiff as an example. On her bankruptcy schedules, she lists 18 student loans.

(Golden Decl., Dkt. No. 247-2, Ex. B). This “loan stack” is important because whether or not one

particular loan exceeds her “cost of attendance” depends on its relationship to the other loans in

the stack. Some of the loans in the stack will not exceed the “cost of attendance,” but others

might.11 Per Plaintiff’s view, the loan that exceeds the “cost of attendance” by “one penny” is not

a “qualified education loan” and is dischargeable. (See Ex. C, p. 62:3-5). That makes it critical to

determine which loan, if any, is the one that exceeded the “cost of attendance” because that will

determine if the borrower is a potential class member and has a potential claim against any of the

Defendants. Loans may be held and serviced by different entities, who may not be parties here.

         Determining which loan is the one that exceeded the student’s “cost of attendance” requires

looking beyond the number of loans and their amounts. Plaintiff asserts that the timing and type

of each loan also matters. Plaintiff has retained a consultant, Mark Kantrowitz, who testified that

the timing of one loan in relation to another affects which loan exceeds a student’s “cost of

attendance.” (See Ex. C, p. 66:18-22). He stated the loan disbursed first takes precedence over and

gets applied before the one disbursed later. (Id.). But, he also testified that whether a loan is

certified by the school affects the analysis. (See Ex. C, p. 68:23-69:6). He testified that a certified

loan is given precedence over an uncertified loan; his logic was that by certifying a loan a school

is essentially guarantying that loan fits within the “cost of attendance.” (See Ex. C, p. 41:21-24)

(“In effect, a school certified loan provides a safe harbor, where the school is confirming it’s under

the cost of attendance.”). And, he testified that, in certain instances, certified loans that come later

can retroactively take precedence and convert a previous, uncertified loan, which had been within




11
  Plaintiff alleges that she has loans which do not exceed her “cost of attendance” (See, e.g., Am. Compl., ¶ 36), but
claims that the NCT Loan is the loan in her stack that pushed past her 2006-07 “cost of attendance.” (Id. at ¶ 37).

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the “cost of attendance” when made, into one that exceeds the student’s “cost of attendance.” (See

Ex. C, p. 76:14-77:21). All of this means that there must by an intensive investigation in the

characteristics of each loan individually and an investigation into the entire loan stack together to

see how the loans interact before anyone can tell if a borrower has a loan (and if so, which one)

that qualifies them for membership within the class.

        Realizing the complexity of this inquiry, Plaintiff has started to waffle on the effect of a

school certification. Mr. Kantrowitz has walked away from his statement that, “a school certified

loan provides a safe harbor, where the school is confirming it’s under the cost of attendance.” (See

Ex. C, p. 41:21-24). In a report issued after his deposition, he states that school certification only

“reduces the likelihood that a private loan will exceed the cost of attendance minus other aid.” (See

Ex. D, p. 7). But, by introducing uncertainty about whether a certification has meaning, Plaintiff

is making it even more difficult to determine if a borrower can be a class member. It adds another

issue into the mini-trials that must take place before the Court can tell if individual borrowers are

in or out of the proposed class.12

        Similar issues exist when it comes time to determine what scholarships or grants a student

had to offset against his or her individual cost of attendance. That is also student specific

information. In the present instance, Plaintiff could not say for certain what scholarships and

grants she received from Penn Law School (See Ex. E, pp. 87:15-88:8, 89:11-90:22, 116:8-11),

let alone any other scholarships she may have had from other sources. Plaintiff alleged in the

Amended Complaint that for 2006-07 she “received … $22,440 in scholarships and grants” (Am.

Compl. ¶ 29); stated in a declaration that she received $21,460 in scholarships (Golden Decl., ¶


12
   A further complication is that litigation over which particular loan is the one that exceeds a borrower’s “cost of
attendance” implicates the rights of loan holders who are not a party to this case. For example, if Holder A can
demonstrate that its loan comes before Holder B’s loan, Holder A has potentially saved its loan from discharge and/or
avoided liability at Holder B’s expense in an action that Holder B might not have even been aware of.

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4); and admitted, when confronted with records obtained via a subpoena to the University of

Pennsylvania, that she received $19,440 in scholarships. (See Ex. E, p. 116:8-11).

         Plaintiff’s proposed class ultimately suffers from a defect similar to the one discussed in

Myers v. Hertz Corp., 624 F.3d 537, 547 (2d Cir. 2010). In Myers, like here, a “simple” question

contained much more complex subsidiary questions. Specifically in Myers, the claims required

resolving “1) whether plaintiffs were denied overtime and 2) whether plaintiffs were entitled to

overtime under [federal law]. While the first [was] a simple factual matter … the second [was] a

complex, disputed issue, and its resolution … [would] require the district court to decide a number

of subsidiary questions” about whether putative plaintiffs met certain criteria. Id., at 548 (citing 29

U.S.C. § 213 (a)(1)). Like here, the claims in Myers involved a statutory framework that made

“clear that these questions should be resolved by examining the [putative plaintiffs’] actual”

characteristics and “require a court to ‘determine [ ]’ the ‘exempt or nonexempt status of any

particular [putative plaintiff] ... on the basis of whether the [putative plaintiff]’s salary and duties

meet the requirement of the regulations’ defining ‘executive employees.’” Myers, 624 F.3d at 548

(citing 29 C.F.R. § 541.2). The Second Circuit affirmed the denial of class certification because

the claims could not have been resolved with common proof for all prospective class members.

Myers, 624 F.3d at 548.

         The logic of Myers applies here. Weighing the individual characteristics of potential class

members, their loans and their “cost of attendance” vis-à-vis whether the loans are “qualified

education loans” is qualitatively no different than weighing the actual characteristics of a worker’s

employment vis-a-vis whether they are entitled to overtime.13 Like in Myers, Plaintiff cannot



13
   The Myers Court reached its decision as part of a predominance analysis. Myers, 624 F.3d at 551. That distinction
is irrelevant. The ascertainability requirement deals with defects “that would cause a proposed class to founder on the
shoals of predominance, superiority, or both.” Petrobras, 862 F.3d at 269 n. 20.

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determine who is in her proposed class without mini-trials directed at prospective members’

individual characteristics. Her motion should be denied for this reason.

         B.       Plaintiff’s Proposed Method For Ascertaining Who Is In The Putative Class
                  Relies On A Mischaracterization Of Both The Law And The Facts.

         Plaintiff realizes she has a serious ascertainability problem with a class defined by “cost of

attendance.” The solution she offers to that problem does not stand up to scrutiny.

                  1.        Plaintiff Misstates The Law And Shifts Rule 23’s Burdens.

         Plaintiff posits that her proposed class is “objectively” ascertainable because “every loan

that was subject to discharge is presumptively discharged unless Defendants prove the loan was

exempt from discharge.” (Pl. Br., p. 15) (citing In re Renshaw, 222 F.3d 82, 86 (2d Cir. 2000)).

First, Plaintiff is wrong about student loans being presumptively discharged. Second, it is Plaintiff

who bears the burden of establishing that a particular loan was discharged.

         The Second Circuit has clearly and unequivocally stated that “[s]tudent loans are

presumptively nondischargeable in bankruptcy.” In re Tingling, 990 F.3d 304, 308 (2d Cir. 2021)

(citing Easterling v. Collecto, Inc., 692 F.2d 229, 231 (2d Cir. 2012)) (emphasis added). Pursuant

to Section 523(a)(8), a student bears the burden of rebutting this presumption. In re Tingling, 692

F.3d at 309. In fact, “Section 523(a)(8) is self-executing.” Tennessee Student Assistance Corp. v.

Hood, 541 U.S. 440, 450 (2004) (internal quotations omitted).14

         Here, there is no dispute that the loans at issue are student loans. That is what this entire

case is about. Moreover, Plaintiff scheduled the loans at issue as student loans in her bankruptcy.


14
   Plaintiff’s dismissal here of binding Second Circuit authority contradicting her assertion that student loans are
presumptively dischargeable is squarely at odds with the position her former counsel, Austin Smith, recently took in
a Petition for Certiorari filed in In re Conti, 982 F.3d 445, 447 (6th Cir. 2020), cert. denied sub nom. Conti v. Arrowood
Indem. Co., No. 20-1597, 2021 WL 2637894 (June 28, 2021). In that Petition, Smith argued that review was warranted
because of a purported circuit split, specifically citing the Second Circuit’s use of “absolute language” in Tingling to
hold that “[s]tudent loans are presumptively nondischargeable in bankruptcy.” See Conti v. Arrowood Indem. Co., No.
20-1597, 2021 WL 1987059, at *3 (May 13, 2021). The Conti petition was denied on June 28, 2021. See Conti v.
Arrowood Indem. Co., No. 20-1597, 2021 WL 2637894 (June 28, 2021).

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(Golden Decl., Ex. B). That means that they were presumptively non-dischargeable and she bears

the burden of rebutting that presumption.

       There is another problem. What Plaintiff tries to do here is fundamentally contrary to Rule

23. By claiming there is no ascertainability problem because everyone is presumptively in the class

until Defendants prove otherwise, Plaintiff attempts to shift to Defendants her own evidentiary

burden to establish that each of Rule 23’s requirements are satisfied. See Myers, 624 F.3d at 547;

Amchem Prods., 521 U.S. at 614. It is not Defendants’ burden to prove the requirements of Rule

23 are not met for Plaintiff’s proposed class, even if they would ultimately bear the burden on the

merits (which Defendants do not, as explained above). Plaintiff has failed to satisfy her burden of

demonstrating that a sufficiently and objectively ascertainable class exists and that is an

insurmountable failing.

               2.      Plaintiff Tries To Manipulate What “Cost Of Attendance” Means
                       And Misrepresents What Information Exists About It.

       While trying to justify her proposed class, Plaintiff struggles to articulate a common

method of determining putative class members’ “costs of attendance.” Plaintiff’s case depends on

the existence of an ascertainable and definite group of borrowers who have educational loans that

exceeded what it cost for them to attend school, who completed bankruptcy, and who have

continued to be subject to collection on their loans. Plaintiff ultimately settles on the idea that the

Court can visit a government website and look-up “costs of attendance” for everyone and that there

is a second government resource that has information about everybody’s student loans. (Pl. Br., p.

16). Plaintiff is wrong in both instances.

       Plaintiff asserts that information reported by schools to the Integrated Postsecondary

Education Data System (“IPEDS”), but only certain categories, can be used as a proxy to determine

students’ individual “costs of attendance.” (Pl. Br., p. 16; Ex. D, p. 4; Declaration of George


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Carpinello (“Carpinello Decl.”), Dkt. No. 245, Ex. HH, p. 4).15 But the average, student-agnostic

numbers reported to IPEDS do not mean what Plaintiff says they mean and they do not cure the

issues Plaintiff’s proposed class suffers from.

         In making her assertions about IPEDS, Plaintiff does three things. First, she subverts the

idea of “cost of attendance,” mischaracterizing it as a school-specific number as opposed to a

student-specific number. Second, she attempts to impose a limitation on the categories that can be

included in a school’s cost of attendance, eliminating nine or ten of the thirteen categories of

expense listed in Section 1087ll. Third, she simply mischaracterizes what IPEDS is, attempting to

distract the Court from the individualized components required by the relevant statutes.

         There is no way to determine individual borrowers’ costs of attendance to ascertain

whether a particular individual is a member of the class without mini-trials. No such group is

ascertainable without a potential-member-by-potential-member inquiry.

         Moreover, as noted above, it is Plaintiff’s burden to demonstrate by a preponderance of the

evidence that her proposed class is ascertainable. Myers, 624 F.3d at 547. She provides nothing

that does this. Her theories are both incorrect and unsupported.

                            a.       Plaintiff Denies The Individualized
                                     Nature Of “Cost of Attendance.”

         On the first page of her brief, Plaintiff states “Defendants know … many of their loans

were dischargeable because they exceeded the cost of attendance.” (Pl. Br., p. 1) (emphasis added).




15
   Defendants have moved to strike the Report of Mark Kantrowitz submitted in support of Plaintiff’s motion for
partial summary judgment because it consists entirely of impermissible legal conclusions. (Dkt. Nos. 384, 389). The
earlier report of Mr. Kantrowitz (Carpinello Decl., Ex. HH), which was originally submitted in a different case, and
which Plaintiff relies on for this motion, suffers from many of the same defects as his second report. Because
application of the Federal Rules of Evidence are not strictly applied to Rule 23 motions, defendants are not moving to
strike the first report. Nevertheless, for the same reasons the Court should strike the second report in its entirety (see
Dkt. Nos. 384, 389), the Court should disregard and not give any weight to any of the impermissible legal conclusions
or arguments that Mr. Kantrowitz offers in his first report. See Hygh v. Jacobs, 961 F.2d 359, 363 (2d Cir. 1992).

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She further states “[t]here are thousands of borrowers with loans that … exceed the cost of

attendance.” (Pl. Br., p. 2) (emphasis added). And, she claims the “published Cost of Attendance

at Penn was $48,464.” (Pl. Br., p. 3). These three instances occur on the first three pages of her

brief; there are myriad other instances throughout the remainder of her brief and her other filings.

Every time Plaintiff does this, she suggests there is a single “cost of attendance” at an institution

that is not a student specific number. Plaintiff’s reliance on IPEDS is predicated on this contention

as well. (See Carpinello Decl., Ex. HH, p. 4) (“IPEDS has institution specific data, but not student

specific data.”).

        Plaintiff’s position that “cost of attendance” is considered on the institutional level, not the

student level, is not supported by the language of Section 1087ll. (See Section I.A.1., supra). Nor

is it supported by IRS Code Section 221, which is the fulcrum of Plaintiff’s theory of liability.

That provision, which creates the tax deduction for student loans, speaks in terms of “an

individual” and allows for “a deduction for the taxable year an amount equal to the interest paid

by the taxpayer during the taxable year on any qualified education loan.” See 26 U.S.C. § 221(a).

“Qualified education loan” is in turn defined as “any indebtedness incurred by the taxpayer solely

to pay qualified higher education expenses … which are incurred on behalf of the taxpayer.” 26

U.S.C. § 221(d). The statute allows a deduction based on what allowable expenses the individual

taxpayer/student incurred and borrowed to pay for their education, not some average number.

        Plaintiff tries to subvert the nature of “cost of attendance” in order to minimize the

individualized inquiries described throughout this brief. It is an attempt to remedy the failings

endemic to her proposed class. And, it should be rejected.




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                            b.       Plaintiff Misrepresents What Makes Up
                                     A Student’s “Cost Of Attendance.”

           Faced with the individualized nature of a student’s “cost of attendance” as set forth in

Section 1087ll, Plaintiff attempts to limit the categories of expense that can be included in a

student’s “cost of attendance.” Plaintiff argues that in order to be a “qualified education loan,” it

must be used to pay “qualified higher education expenses,” which “means the cost of attendance

(as defined in section 472 of the Higher Education Act of 1965, 20 U.S.C. 1087ll, as in effect on

the day before the date of the enactment of the Taxpayer Relief Act of 1997).”16 (See Ex. D, p. 8).

Plaintiff then claims, without explanation, that the 1997 version of Section 1087ll limits “cost of

attendance” to tuition, required fees, miscellaneous expenses, and room and board. (See Ex. D, p.

7; Ex. C, pp. 108:13-109:7; Carpinello Decl., Ex. HH, p. 4).

           Whether “cost of attendance” should be defined by the 1997 version of Section 1087ll or

the current one does not change the above analyses. A comparison of the 1997 version of Section

1087ll and the current version shows that twelve of the thirteen categories remain substantively

unchanged between the two. (See Appendix C).17 The notable difference is the addition of Section

1087ll(13), which was added when the statute was amended in 2006. See Pub. L. 109–171,

§8016(2)–(4). The dependent and disability expenses set forth in Sections 1087ll(8) and (9), the

two categories the Trust Defendants focused on above (see Section I.A.1.a., supra), both appear

in the 1997 and current versions of Section 1087ll. The text of these provisions is unchanged

between the two versions. (See Appendix C).




16
     The date of the enactment of the Taxpayer Relief Act of 1997 was August 5, 1997.
17
   A comparison of the historical version of Section 1087ll in effect on August 5, 1997 and the current version is
attached as Appendix C. The version of Section 1087ll in effect on August 5, 1997 is attached as Appendix B. As
noted above, the current version is attached as Appendix A.

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       Nonetheless, Plaintiff argues that the 1997 version of Section 1087ll controls and that it

allows for certain, but not all, categories listed in that version to count toward “cost of attendance.”

(Ex. C, pp. 108:13-109:7; Ex. D, p. 7; Pl. Br., p. 16; Carpinello Decl., Ex. HH, p. 4). Mr.

Kantrowitz denied during his deposition that dependent care expenses, medical expenses and loan

origination fees are included in the 1997 version of Section 1087ll, even though the 1997 text

includes them. (Appendix B; Ex. C, pp. 115:23-119:25). Plaintiff provides no justification for his

view that these categories should be read out of the statute.

       Even if Plaintiff were correct that tuition, required fees, miscellaneous expenses and room

and board were the only permissible categories of expense that could be included in a student’s

“cost of attendance” – and she is not – that does not eliminate the need for individualized inquiries.

Each of these categories still has an inherent variability. As noted above, tuition is assessed by

“course of study.” This means an institution can have numerous tuition allowances. (See Ex. B, p.

35:8-25). It also means that the tuition allowance is tied to a student’s particular characteristics.

(See Ex. B, pp. 35:8, 86:15-87:9). There are multiple categories of room and board. See 20 U.S.C.

§ 1087ll(3); (Carpinello Decl. Ex. HH, p. 11). These categories do not include the different meal

plans that a university might have in place, which (at the University of Pennsylvania, for example)

can vary by thousands of dollars. (See Ex. B, pp. 41:21-42:13). The “allowance for books, supplies,

transportation, and miscellaneous personal expenses,” will contain different transportation costs

for a student who lives on campus as opposed to a commuter student. All of this means, even with

the limitations Plaintiff tries to impose on “cost of attendance, different students at the same school

at the same time will still have different “costs of attendance.”

       Faced with these problems, Plaintiff now seems to be abandoning her original contention

that Section 1087ll sets forth the definition of “cost of attendance.” Specifically, Mr. Kantrowitz



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claims in the report issued after his deposition (and the deposition of Ms. Varas) that there is a

distinction between the use of the definition contained in Section 1087ll to determine “qualified

higher expenses [sic] at 26 USC 221(d)(2)” and “for purposes of determining student eligibility

for federal student aid.” (See Ex. D, p. 4). This idea is not based in some distinction between the

August 1997 and current versions of Section 1087ll; there are no meaningful differences. (See

Appendix C). The idea is completely unsupported. But, it is necessary to Plaintiff because without

this made up distinction, her class descends into mini-trials.

        What Plaintiff is ultimately saying is that the numbers being used to award financial aid

are not the numbers allowed by the IRS Code. This argument is especially pernicious. The

evidence shows that schools are certifying “costs of attendance” based on expenses that fall within

the categories of Section 1087ll, but outside of the limited categories that Plaintiff approves. (See,

e.g., Ex. B, pp. 28:14-32:11, 119:19-120:7). According to Plaintiff, none of those certified loans

are “qualified education loans” because they include amounts for categories Plaintiff deems

improper. If they are not “qualified education loans” they do not qualify for a deduction under IRS

Code Section 221(d). In a stroke Plaintiff transforms loans that were certified to be tax deductible,

“qualified education loans” into non-tax deductible loans. Plaintiff’s interpretation of “cost of

attendance” and the way it intersects with the tax code, potentially creates tax liability for innocent

and unaware borrowers who may or may not be class members.18

                          c.       Plaintiff Mischaracterizes What IPEDS Is.

        Finally, Plaintiff simply mischaracterizes what IPEDS is and refuses to acknowledge what

it is not. IPEDS collects some average student cost information from schools, but it does not collect


18
  This also creates internal conflict among the class and divides those who may have taken a deduction from those
who did not. This further precludes certification of Plaintiff’s proposed class. Langbecker v. Elec. Data Sys. Corp.,
476 F.3d 299, 315 (5th Cir. 2007); In re Foreign Exch. Benchmark Rates Antitrust Litig., 407 F. Supp. 3d 422, 439
(S.D.N.Y. 2019).

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data for every category of expense permitted by Section 1087ll. Plaintiff attempts to limit “cost of

attendance” to tuition, required fees and room and board because she is trying to bring her

definition of “cost of attendance” in line with categories of information that IPEDS does collect.

(See, e.g., Ex. D, p. 3). Plaintiff is hoping to transform IPEDS into the centralized repository of

“cost of attendance” she needs to avoid the ascertainability, predominance and superiority

problems discussed throughout this memorandum. In doing this, not only does Plaintiff warp the

meaning of “cost of attendance,” she also tries to substitute averages reported to IPEDS for actual

“costs of attendance.”

       Plaintiff’s purported expert contends that the definition of “cost of attendance” used to

define a “qualified education loan” is “the cost of attendance that is reported to IPEDS.” (See Ex.

D, p. 4). This is simply wrong, especially because it relies on the idea that only tuition, fees, and

room and board can be part of a student’s “cost of attendance” and ignores all of the remaining

categories set forth in Section 1087ll.

       Plaintiff’s class remains unascertainable because even accepting Plaintiff’s theory that you

look at the 1997 version of Section 1087ll, there are still twelve categories (not counting sub-

categories) of permissible expense that make up a student’s “cost of attendance.” None of the

expenses relating to those remaining categories is collected by IPEDS. Even denying the

variability within Section 1087ll’s categories, a student’s “cost of attendance” is still constructed

using twelve categories and one needs to know which of those categories were counted in order to

determine a particular student’s “cost of attendance.” (See Ex. B, pp. 164:14-166:3).

       Moreover, the data collected by IPEDS reflects average costs. The IPEDS report Plaintiff

attached to her declaration expressly states that it reflects “average” costs for “first-time, full-time

undergraduate students,” along with “typical tuition and required fees” for “full-time first-



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professional” students at the institutional level. (See Golden Decl., Ex. A pp. 11-14) (emphasis

added). IPEDS does not contain information broken down to the student level. Because Plaintiff

is attempting to use an average, by definition a group of students is going to have actual “costs of

attendance” that exceed IPEDS’ purported “costs of attendance.” (Carpinello Decl. Ex. HH, p. 11).

This is important because under Plaintiff’s theories a loan that exceeds a student’s “cost of

attendance” by a single penny render that entire loan dischargeable. (See Ex. C, p. 62:3-5). There

will be class members who benefit from this imprecision and others who lose out. Loan holders

will fall into those same categories, too.

        The testimonial evidence confirms that the data reported to IPEDS is not detailed enough

to be able to ascertain individual students’ “cost of attendance.” (See Ex. B, pp. 164:14-166:3).

This makes sense because accumulating that data is not one of IPEDS’ purposes. Instead, IPEDS

is an annual report that is:

        provided by each educational institution to provide general average information on
        funding received by students, need available to students, type of students that are
        receiving funding, cost of education on an average, trends, number of students
        who’ve received federal versus institutional funding. So it really provides a general
        snapshot so that organizations can then create trends based on similar types of
        institutions.

(See Ex. B, p. 88:5-14) (emphasis added).

        The forms IPEDS uses to gather information demonstrate as much, using the words

“‘typical’ and ‘average’ … throughout the document.” (See Ex. B, p. 164:15-21). Thus, while

IPEDS might ask for tuition charges by school, it does not ask by class or course of study. (See

Ex. B, pp. 90:20-91:5). This means that a university’s office of institutional research

        will have to take an average of required fees to put it on the listing of by school and
        by program. IPEDS does not ask by school, by program, by class; housing, living
        information. So in that regard, institutional research again has to provide averages
        based on housing for both undergraduate and graduate students.



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(See Ex. B, p. 90:22-91:5). The university ends up providing to IPEDS “a general number that is

not unique to a profession or a student.” (See Ex. B, p. 103:5-7).

       Ultimately, Ms. Varas – a financial aid administrator with “[p]robably 30 some-odd years”

experience using IPEDS – unequivocally rejected Plaintiff’s proposed use of IPEDS’ data. (See

Ex. B, pp. 22:5-10, 15:5-16:25, 98:24-25). Specifically:

       Q.     [W]ould you ever use cost of attendance numbers for IPEDS in performing
       a student eligibility analysis for borrowing a private student loan?

       A.      No.

       Q.      Why not?

       …

       A.    … It’s too much of an average. It’s too generic. We need – our analysis is
       much more specific and closer to the reality.

(See Ex. B, p. 94:9-24).

       Finally, in assessing Plaintiff’s argument that average amounts are somehow “close

enough,” the Court should pause to consider the statutes at issue. The IRS Code provides the

definition of “qualified education loan,” which rests on the definition of “cost of attendance.” See

26 U.S. Code § 221. It does this in Section 221, which allows for an individual taxpayer to take a

tax deduction based on the interest paid on student loans. It seems very odd that an individual

deduction would be based on borrowing that does not correlate to that taxpayers’ actual “cost of

attendance.” Taxpayers who spent less than the averages reported to IPEDS could reap a tax benefit

on loans for amounts in excess of what it cost for them to go to school.

               3.      Plaintiff Mischaracterizes The Information Available.

       In tandem with attempting to limit what is part of a student’s “cost of attendance,” Plaintiff

also makes a series of statements about what information is available to the parties. Plaintiff cites

no evidence to support any of these statements. Accordingly, she has not carried her burden.

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        Specifically, Plaintiff represents that:

        Defendants have detailed information about each borrower, including the amount
        of their loan and school attendance status. In addition, the cost of attendance at each
        institution, the other loans and financial aid each borrower received and the school’s
        Title IV status can be ascertained from the relevant schools and publicly available
        records. The cost of attendance for each student who has applied for federally-
        guaranteed financial aid is in a database maintained by the federal government
        known as the Federal Student Financial Application File. Defendants have access
        to this file as lenders and servicers of federally-guaranteed student loans.

(Pl. Br., p. 16). There are no such databases that Defendants have access too. Plaintiff does not

provide anything that demonstrates that there are (besides her lawyers’ surmise). She has certainly

not met her burden on this point.

        Moreover, the statements Plaintiff makes about the availability of such information do not

logically cohere as her own circumstances illustrate. According to her bankruptcy schedules, for

the academic years in question Plaintiff had numerous federal and private loans, which funded at

different points in time that year. (Golden Decl., Ex. B). While a lender might have information

about the loan it made to her – and the Trusts Defendants are not lenders – it does not follow that

the lender would have information about all other loans a borrower might have taken out. And, it

does not follow that a database of federal loans would reflect a borrower’s private loans or that the

parties to this matter have access to such a database, if it existed. Plaintiff’s assertion that the Trusts

have access to “this file as lenders and servicers of federally-guaranteed student loans” is

unsubstantiated by any record evidence. It is also simply wrong because the Trust Defendants hold

only private loans and do not service any loans. That leaves Defendants with only the borrowers

themselves and the schools as sources of information. This creates an entirely different problem

because it is impossible to determine which borrowers to seek information about without first

knowing if they have loans that exceed their “cost of attendance.”




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       Plaintiff’s assertion that any uncertainty about whether a loan exceeds a borrower’s

individual “cost of attendance” was created by “Defendants’ own conduct” is just convenient

nonsense. So too is the idea that Defendants have somehow waived the right to defend themselves

against a class action lawsuit based on the individualized nature of “cost of attendance.” As shown

above, Plaintiff asserts positions that lead to the conclusion that the amounts a school certifies as

being within the cost of attendance cannot be taken at face value. In doing so, she denies the

accuracy and relevance of the very information she claims lenders should have relied upon.

                                                  *****

       For the reasons explained above, Plaintiff has failed to articulate a sufficiently definite

and objectively identifiable class of individual borrowers whose claims can be adjudicated on a

class-wide basis. Her motion must therefore be denied.

II.    Plaintiff Does Not Satisfy The Express Requirements Of Rule 23(a).

       Besides failing Rule 23’s threshold requirement that she demonstrate an ascertainable class

exists, Plaintiff also fails to meets Rule 23(a)’s four explicit requirements.

       In order for a court to consider certifying a class, a plaintiff must establish: (1) numerosity,

(2) commonality, (3) typicality, and (4) adequacy of representation with regard to the putative

class. FED. R. CIV. P. 23(a); Ruffo, 2016 WL 4581344, at *1. Plaintiff does not meet any of these

requirements. The Trust Defendants will address these requirements in reverse order.

       A.      Plaintiff Fails The Typicality And Adequacy Requirements of Rule 23(a)(3)
               and (4); She Is Not A Member Of Her Own Proposed Class.

       Ms. Golden, the only named plaintiff, has never demonstrated that she has a loan that

exceeded her “cost of attendance” at Penn Law School. Indeed, the evidence affirmatively shows




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she is not a member of the class she seeks to certify. (See Dkt. No. 336). This means she is not

typical of her proposed class nor an adequate representative.19

        Rule 23(a)(3) requires the claims or defenses of the class representative be typical of the

claims of other putative class members. FED. R. CIV. P. 23 (a)(3); Amchem Prods., 521 U.S. at

607 n. 11; In re Flag Telecom Holdings, Ltd. Sec. Litig., 574 F.3d 29, 34 (2d Cir. 2009); see also

Vengurlekar v. Silverline Technologies, Ltd., 220 F.R.D. 222, 226—27 (S.D.N.Y. 2003). Rule

23(a)(4) requires a class representative must “fairly and adequately protect the interests of the

class.” A proposed class representative satisfies Rule 23(a)(4) only if she has “an interest in

vigorously pursuing the claims of the class.” In re Literary Works in Elec. Databases Copyright

Litig., 654 F.3d 242, 249 (2d Cir. 2011). There must be no difference between a class

representative and some class members that undermines that incentive. In re Payment Card

Interchange Fee & Merch. Disc. Antitrust Litig., 827 F.3d 223, 231 (2d Cir. 2016).

        It is fundamental that “a class representative must be part of the class and ‘… suffer the

same injury’ as the class members.” East Tex. Motor Freight System, Inc. v. Rodriguez, 431 U.S.

395, 403 (1977) (internal quotations omitted); see also Heerwagen v. Clear Channel Commc’ns.,

435 F.3d 219, 225 (2d Cir. 2006). If the named plaintiff is not a member of the proposed class,

she is not a typical or adequate representative and no class can be certified; the court need not

even consider the other Rule 23 requirements. Bentley v. Verizon Business Global, LLC, No. 07-

cv-9590-DC, 2010 WL 1223575, * 4 (S.D.N.Y. March 31, 2010) (citing In re WorldCom, Inc.,

358 B.R. 585, 595 (Bankr. S.D.N.Y. 2006)); Newman v. RCN Telecom Servs., Inc., 238 F.R.D.

57, 63 (S.D.N.Y. 2006)).




19
  Adequacy and typicality in a Rule 23(a) analysis are related enough concepts that they tend to merge. See Amchem
Prods., 521 U.S. at 626 n. 20.

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        The class Plaintiff seeks to certify is: “Individuals who received private loans owned, held,

or serviced by Defendants which were not within the cost of attendance at Title IV institutions as

defined in 26 U.S.C. § 221(d).” (Pl. Br., p. 6). Plaintiff has three loans at issue in this case: the

NCT Loan; the CitiAssist Grad./Prof. Loan; and the Bar Loan. None of Plaintiff’s loans fit within

the category necessary for her to be a member of the class because she does not, and cannot,

demonstrate that any of them have exceeded her “cost of attendance” at Penn Law School. In fact,

three years into this case she cannot articulate a definite and consistent cost for her attendance at

Penn Law School. Consequently, she has not met her burden of demonstrating that she is a

member of the class she is attempting to certify and her motion should be denied.

                 1.       The NCT Loan

        The NCT Loan was for $7,103 and was taken out to pay for educational expenses during

the 2006-07 academic year.20 Plaintiff asserts that, when considered with her federal loans and

scholarships, this loan exceeded her “cost of attendance” at Penn Law School and is, therefore,

not a “qualified education loan.” (Am. Compl., ¶ 30).

        Plaintiff alleges that she had $27,500 in federal guaranteed loans for academic year 2006-

07 and also received $21,640 in scholarships and grants that year. (Golden Decl., ¶ 4). According

to Penn Law School records, Ms. Golden received $24,500 in federal guaranteed loans not

$27,500 for 2006-07. (See Ex. F). During her deposition, Plaintiff acknowledged that she only

received $19,440 in scholarships and grants, not $21,640. (See Ex. E, p. 86:2-88:16). Plaintiff’s

amounts are off by more than $5,000.




20
  The NCT Loan documentation states: “I understand and agree that this loan is an education loan and certify that it
will be used only for costs of attendance at the School.” (See Ex. I).

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         The average “cost of attendance” at Penn Law School for academic year 2006-200721 was

$56,380. (See Ex. G, ¶ 5; Ex. H, pp. 161:1-7, 162:15-164:10; Ex. E, p. 73:3-78:9). This is the

amount Penn Law School calculated to be an average student’s “Estimated Student Budget,”

which it the term the university uses synonymously with “cost of attendance.”22 (See Ex. G, ¶ 5;

Ex. H, pp. 161:1-7, 162:15-164:10; see also Carpinello Decl., Ex. HH, p. 4 (“The cost of

attendance (also called a ‘student budget’ …”).

         Thus, according to the calculation that Plaintiff sets forth in her Amended Complaint,

Plaintiff could borrow $12,440 in private loans for 2006-07 ($56,380 average cost of attendance,

minus $24,500 in federal guaranteed loans, minus $19,440 in scholarships and grants) without

exceeding the cost of attendance for that academic year.23 The NCT Loan was for $7,103, which

is significantly less than what remains after Plaintiff’s federal loans and her scholarships are

subtracted from Penn Law School’s average cost of attendance. (See Ex. J; Ex. K; Ex. I).

         As a brief aside, this calculation does not account for any loan fees or origination fees.

The amounts of these types of fees are added to a student’s “cost of attendance” under both the

1997 and current versions of Section 1087ll(12). (See Appendices A and B). The $7,103 NCT

Loan amount includes a $653 origination fee. (See Ex. J; Ex. K; Ex. I). Plaintiff has provided no

evidence regarding loan or origination fees for any of her other loans. These amounts are

important because they increase her “cost of attendance.”




21
  The Trust Defendants are using the average “cost of attendance” provided by the school because Plaintiff has not
put forth any evidence which demonstrates what her individual “cost of attendance” was.
22
   It is worth noting, the fact that Penn Law School provides an “estimated” number logically demonstrates that there
is variability in “cost of attendance” student by student and actual amounts will vary.
23
  Even using Plaintiff’s unsupported, incorrect numbers for her federal loans and scholarships and grants, the NCT
Loan still fit within Penn Law’s average “cost of attendance.”

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        Plaintiff disputes Penn Law School’s own cost estimate. She claims her cost of attendance

was not $56,380 but $48,464. She calculates this number from information reported by the

University to Pennsylvania to IPEDS. As shown, the amounts reported to IPEDS are averages

and do not accurately reflect her “cost of attendance.” Plaintiff also only accounts for the average

amounts of tuition, required fees, and room and board reported to IPEDS.

        Putting aside that Plaintiff is incorrect in her assertion that only these costs can be included

in calculating a student’s “cost of attendance” the amounts she relies on to calculate her $48,464

“cost of attendance” at Penn Law School are not what she says they are. Ms. Golden, a law student

who lived off campus (See Ex. E, p. 14:24-15:13), calculates her $48,464 “cost of attendance”

using a room and board amount for “full time, first time” undergraduate students who lived in on-

campus, university controlled housing.

        The IPEDS document Plaintiff relies on for her numbers states as much. (Golden Decl.

Ex. A). It states that if “all full-time, first-time degree/certificate-seeking students [are] require[d]

to live on campus” the school will not be “asked to report off-campus room and board.” (Golden

Decl., Ex. A, Part D, Question 3) (emphasis in original). The University of Pennsylvania stated

that its full-time, first-time undergraduates were required to live on campus. (Id.). Accordingly,

the IPEDS data that Plaintiff points to does not include any reported amounts for off-campus

room and board, let along off-campus room and board for graduate students.




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                  2.       CitiAssist Grad./Prof. Loan

         For the 2007-2008 academic year, Plaintiff borrowed $583 under the CitiAssist Grad./Prof.

Loan Program. Plaintiff alleges that this loan is a direct-to-consumer loan that exceeds her “cost

of attendance” at Penn Law School.24

         When Plaintiff applied for the CitiAssist Grad./Prof. Loan, she applied for a loan in the

amount of $2,294. (See Ex. L; Ex. M; Ex. N; Ex. O). Citibank only loaned her $583, however,

because that is the amount that Penn Law School certified. (Id.).

         The declaration of Plaintiff’s own consultant submitted in support of her motion states that

“school certification provides a safe harbor for the lender because the financial aid office ensures

that the loan amounts … do not exceed the cost of attendance, i.e., the requirements for the loans

to be qualified education loans.” (See Ex. C, p. 42:10-25; Carpinello Decl., Ex. HH, p. 3). This

should be dispositive with respect to determining that this loan is a “qualified education loan.”

Plaintiff does not provide anything that shows otherwise.

                  3.       The Bar Loan

         Plaintiff also has put the Bar Loan at issue.

         Under the definition of cost of attendance in Section 1087ll, which Plaintiff points to as the

source of determining what can be counted towards a student’s cost of attendance, bar exam

expenses can be included.

         Specifically, Section 1087ll(13), allows:

         (13)     at the option of the institution, for a student in a program requiring
                  professional licensure or certification, the one-time cost of obtaining the
                  first professional credentials (as determined by the institution).




24
  This loan is alleged in the Amended Complaint. However, Plaintiff made no reference to it in her Motion for Partial
Summary Judgment. The Trust Defendants include it for the sake of completeness..

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       Passing the bar exam is a prerequisite for obtaining a law license. Accordingly, it logically

follows that the expense of specialized preparation to pass that exam and obtain that license falls

within Section 1087ll.

       Plaintiff provides nothing to indicate that Penn Law School has not exercised its option to

allow a student to include bar exam expenses in its calculation of his or her cost of attendance.

       All of this shows that Plaintiff is asking the Court to certify a class that she cannot

demonstrate membership in. She cannot even prove her “cost of attendance” at Penn Law School.

Her motion should be denied for this reason. See, e.g., Bentley, 2010 WL 1223575 at *4.

Plaintiff’s failure to demonstrate that she is part of her proposed class is not an excusable defect.

If the named plaintiff purporting to represent a class does not establish “the requisite of a case or

controversy with the defendant [...], none may seek relief on behalf of himself or any other

member of the class.” In re WorldCom, Inc., 358 B.R. at 597 (quoting Cent. States Southeast &

Southwest Areas Health & Welfare Fund v. Merck–Medco Managed Care, L.L.C., 433 F.3d 181,

199 (2d Cir. 2005); O’Shea v. Littleton, 414 U.S. 488, 494 (1974) (internal citations omitted)).

“A named plaintiff cannot acquire standing to sue by bringing his action on behalf of others who

suffered injury which would have afforded them standing had they been named plaintiffs . . .” In

re WorldCom, Inc., 358 B.R. at 597 (quoting Allee v. Medrano, 416 U.S. 802, 828–29 (1974)).

       B.      Plaintiff Fails The Commonality Requirement Of Rule 23(a)(2).

       The commonality element of Rule 23(a) requires “both at least one question common to

the class, and also that a class action ‘has the capacity to generate common answers apt to drive

the resolution of the litigation.’” Adkins v. Morgan Stanley, 307 F.R.D. 119, 137 (S.D.N.Y. 2015)

(quoting Gulino v. Bd. of Educ. of City Sch. Dist. of City of N.Y., No. 96–cv–8414-KMW, 2013

WL 4647190, at *6 (S.D.N.Y. Aug. 29, 2013) (emphases in original). “[A] common question is

one where the same evidence will suffice for each member to make a prima facie showing or the
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issue is susceptible to generalized class-wide proof.” Tyson Foods, Inc. v. Bouaphakeo, 577 U.S.

442, 453 (2016) (internal quotations omitted). Here, there is no common question that has the

ability to generate a common answer using common proof to resolve the claims of the putative

class members.

        Plaintiff contends that this requirement is satisfied because the Court need only make a

simple determination whether loans to borrowers who went through bankruptcy should have been

discharged because they exceeded that borrower’s “cost of attendance.” However, as explained

in detail above, there is no common proof that answers this question for each borrower and

permits class-wide resolution of the putative class’ claims. (See Section I.B., supra.)

        The contours of Plaintiff’s problem on this point come into view when she argues that there

is commonality because “it does not matter that the class members had different loan amounts or

went to different schools with different costs of attendance.” (Pl. Br., p. 11). This statement

theorizes a world where there is a single “cost of attendance” at each institution. Neither the

controlling statute, Section 1082ll, nor the evidence gathered in the case supports Plainitff’s theory.

Plaintiff ignores the fact that class members who went to the same school at the same time could

have each had a different “costs of attendance.” That very difference is implicit in Plaintiff’s use

of IPEDS data for on-campus University of Pennsylvania undergrads to calculate her “cost of

attendance” as an off-campus graduate student. The very data she tries to use highlights a

categorical difference between groups of students at the same school. The IPEDS data does not

cover her individual characteristics. This demonstrates that there is no common evidence that

allows class members to make a prima facie showing of liability.25 See Myers, 624 F.3d at 548.


25
  It comes back to the individualized inquiries described in the ascertainability arguments, and the predominance
argument. This is not surprising. Ascertainability implicates predominance, Petrobras, 862 F.3d at 269 n. 20, and
predominance subsumes commonality. Amchem Prods., 521 U.S. at 609. Ascertainability is dealt with in Section I.,
supra. Predominance is dealt with in Section III.1.A., infra.

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       C.      Plaintiff Does Not Establish Numerosity Under Rule 23(a)(1).

       Finally, Plaintiff provides no evidence that demonstrates the proposed class is “so

numerous that joinder of all members is impracticable.” FED. R. CIV. P. 23(a)(1); see also Gen.

Tel. Co. of the Northwest, 446 U.S. at 330.

       A plaintiff must produce some evidence or otherwise establish by reasonable estimate the

number of class members who may be involved. Comcast, 569 U.S. at 33; Marcus v. BMW of N.

Am., LLC, 687 F.3d 583, 591–92 (3rd Cir. 2012) (even though “[i]t is tempting to assume that the

. . . class meets the numerosity requirement,” a finding of numerosity in the absence of actual

evidence impermissibly “crossed the line separating inference and speculation”). A plaintiff cannot

rely on speculation as to the size of the class in order to prove numerosity. Marcial v. Coronet

Ins. Co., 880 F.2d 954, 957 (7th Cir. 1989); see also Demarco v. Edens, 390 F.2d 836, 845 (2d

Cir. 1968); Jeffries v. Pension Trust Fund of the Pension, Hospitalization & Benefit Plan of the

Elec. Indus., 172 F. Supp. 2d 389, 394 (S.D.N.Y. 2001); Huntley v. Law Office of Richard Clark,

PLLC, 262 F.R.D. 203, 205 (E.D.N.Y. 2009). If a putative class is some subset of a larger pool,

the trial court must find, on a preponderance of the evidence, that the specific subset is sufficiently

numerous. Hayes v. Wal-Mart Stores, Inc., 725 F.3d 349, 358 (3d Cir. 2013) (quotations omitted).

It is Plaintiff’s burden to prove this. Id. at 357; see also Mielo v. Steak ‘n Shake Operations, Inc.

897 F.3d 467, 484-86 (3d Cir. 2018).

       The only evidence Plaintiff submitted regarding numerosity are the Declarations of John

DeBois. In them, Mr. DeBois compares the limited data he obtained from IPEDS with a PHEAA

produced spreadsheet showing the loans PHEAA services, whose borrowers filed for bankruptcy.

(See Exs. P, R). Mr. DeBois “assumed” the data from “IPEDS was the cost of attendance for that

school for a given year ….” (See Ex. Q, pp. 71:12-24, 104:7-8.)



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        As explained above, IPEDS is not a source for accurate “cost of attendance” data. The

calculations Mr. DeBois did using IPEDS data are therefore meaningless in determining how many

borrowers had loans that exceeded their “costs of attendance.” Accordingly, Mr. DeBois does not

demonstrate that there is even one borrower who fits within the class definition, let alone a

sufficiently numerous group to satisfy Rule 23(a)(1). Nor does Mr. DeBois say anything about the

number of loans held by the Trust Defendants that might fall within the proposed class definition.

        Ultimately, Plaintiff is simply asking the Court to “assume” that the proposed class is

sufficiently numerous. The Court cannot and should not make such an assumption.

III.    Plaintiff’s Proposed Class Does Not Meet The Requirements Of Rule 23(b).

        Courts will “only turn . . . attention to Rule 23(b) after [they are] certain that all of Rule

23(a)’s requirements ha[ve] been met.” Bell, 800 F.3d at 374.

        If Plaintiff had satisfied Rule 23(a), she must then demonstrate that her proposed class

meets the various requirements under one of the three categories set forth in Rule 23(b). Brown,

609 F.3d at 476; Teamsters Local 445, 546 F.3d at 202. Plaintiff has moved to certify,

alternatively, under Rule 23(b)(1)(A), (b)(2), or (b)(3). (Pl. Br., p. 7). There is no basis to certify

a class under any of the three.

        A.     Plaintiff Does Not Meet The Requirements For A
               Damages Class Under 23(b)(3).

        In order to certify a damages class under Fed. R. Civ. P. 23(b)(3) a plaintiff must meet two

criteria beyond those contained in Rule 23(a). She must demonstrate that “questions of law or fact

common to class members predominate over any questions affecting only individual members,

and that a class action is superior to other available methods for fairly and efficiently adjudicating

the controversy.” FED. R. CIV. P. 23(b); see also Scott v. Chipotle Mexican Grill, Inc., 954 F.3d

502, 512 (2d Cir. 2020); Johnson v. Nextel Communications Inc., 780 F.3d 128, 137 (2d Cir. 2015).


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       Unsurprisingly, given the ascertainability issues Plaintiff’s proposed class presents,

Plaintiff likewise fails to demonstrate that she meets the predominance or superiority requirements

of Rule 23(b)(3). See Petrobras, 862 F.3d at 269 n. 20.

               1.     Individualized Questions Of Law And Fact Predominate.

       As described above, there are serious and insurmountable threshold barriers to

determining who is and is not a member of Plaintiff’s proposed class, which is defined using a

concept, “cost of attendance,” that is inherently individualized. (See Section I.A., supra.) These

same, individualized questions plus others – including how each individual putative class member

characterized her loans for tax and bankruptcy purposes – predominate over any common

questions or issues and precludes certification. See FED. R. CIV. P. 23(b)(3).

       A court examining predominance must assess (1) the elements of the claims and defenses

to be litigated, (2) whether generalized evidence could be offered to prove those elements on a

class-wide basis or whether individualized proof will be needed to establish each class member’s

entitlement to relief, and (3) whether the common issues can properly be tried on a class-wide

basis, or whether they will be overwhelmed by individual issues. Scott, 954 F.3d at 512.

       As the Second Circuit, has explained:

       An individual question is one where “members of a proposed class will need to
       present evidence that varies from member to member,” while a common question
       is one where “the same evidence will suffice for each member to make a prima
       facie showing or the issue is susceptible to generalized class-wide proof.”

Petrobras, 862 F.3d at 270 (quoting Bouaphakeo, 577 U.S. at 453 (internal marks ommitted)).

       The requirements of Rule 23(b)(3) are satisfied only if the issues that can be resolved

through generalized proof “are more substantial than the issues subject only to individualized

proof.’” Waggoner v. Barclays PLC, 875 F.3d 79, 93 (2d Cir. 2017) (quoting Roach v. T.L.

Cannon Corp., 778 F.3d 401, 405 (2d Cir. 2015)); see also Scott, 954 F.3d at 512; Myers, 624


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F.3d at 547; Royal Park Invs. SA/NV v. Bank of New York Mellon, No. 1:14-cv-6502-GHW, 2019

WL 652841, at *7 (S.D.N.Y. Feb. 15, 2019) (individual issues predominate where court must

“engage in a multi-step analysis” to “determine whether an alleged class member has standing to

assert its claims.”).

        As with the other requirements of Rule 23, it is the Plaintiff’s burden to show that the issues

in the proposed action that are subject to generalized proof outweigh those issues that are subject

to individualized proof. See In re Visa Check/Mastermoney Antitrust Litig., 280 F.3d 124, 136 (2d

Cir. 2001). If she cannot, no class can be certified. See Heerwagen, 435 F.3d at 226.

                        a.      Every Potential Plaintiff Has A Different
                                “Cost of Attendance” And Loan Stack.

        For every member of Plaintiff’s proposed class, the Court will need to conduct a mini-

proceeding to determine at a minimum: 1) what the borrower’s “cost of attendance” was at the

school he or she attended for the year in question; and 2) the borrower’s loan stack. This

individualized information must be known before any decisions can be made about whether or

not a plaintiff is part of the class entitled to even seek relief. See Scott, 954 F.3d at 512; see Section

I.A., supra.

        What has not yet been addressed is just how difficult these individualized questions will

be to resolve. Plaintiff admits that it is fatal for a class definition to require an “arduous individual

inquiry” into individual records rather than a “ministerial review.” (Pl. Br., p. 16) (citing Audet v.

Fraser, 332 F.R.D. 53, 72-72 (D.Conn. 2019)). What has been described above is an “arduous

individual inquiry.” After more than three years of active litigation, Plaintiff has still not been

able to prove what her “cost of attendance” at Penn Law School was. (See Dkt. No. 336). Nor has

she proven what her loan stack was. There will be a similar dispute for every potential class

member. If Plaintiff’s case is like others, discovery will entail a subpoena to every school that a


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borrower attended as well as discovery regarding how that school calculated “costs of attendance”

for its students and what its loan certification process was when the student attended. Because the

class reaches so far back into the past, there will be document retention issues, depending on the

policy each school has. See 20 U.S.C. § 1232f(a) (institutions receiving federal funds need only

retain related documentation for three years). There will also need to be discovery directed at

every putative class member to understand their loan stacks. There will be discovery directed at

every putative class member’s tax and bankruptcy treatment of their loans as well.

       No common evidence can provide the above information. Accordingly, the Court cannot

get to any other issues without individualized inquiries, which overwhelm any common issue.

       There is second failing that also grows out of the individualized nature of each claim. If

the Court were to do the necessary individualized inquiries, any class that was ascertained would

be an impermissible “fail-safe class.” “A fail-safe class is one whose definition ‘shields the

putative class members from receiving an adverse judgment....’” Mazzei v. Money Store, 288

F.R.D. 45, 55 (S.D.N.Y. 2012) (quoting Randleman v. Fidelity Nat’l Title Ins. Co., 646 F.3d 347,

352 (6th Cir. 2011)). In such a class, “either the class members win or, by virtue of losing, they

are not in the class, and therefore not bound by the judgment.” Spread Enterprises, Inc. v. First

Data Merchant Services Corp., 298 F.R.D. 54, 69 (E.D.N.Y. 2014) (quoting Mazzei, 288 F.R.D.

at 55). A “fail-safe” class is problematic “because the members of the class could only be known

after a determination of liability.” Mazzei, 288 F.R.D. at 55 (citing Randleman, 646 F.3d at 352;

Kamar v. Radio Shack Corp., 375 Fed.Appx. 734, 736 (9th Cir. 2010)).

       That is precisely what the Court is faced with here. Plaintiff’s class requires the Court to

determine if each member has a loan which exceeded their “cost of attendance” so Defendants can

be held liable for collecting on a loan that was discharged because it exceeded the member’s “cost



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of attendance.” The class members either “win or, by virtue of losing, they are not in the class, and

therefore not bound by the judgment.” Spread Enterprises, Inc., 298 F.R.D. at 69.

       In Spread Enterprises Judge Spatt rejected two class definitions that stated “class members

‘were charged excessive fees.’ [Because, i]n the Court’s view, this language makes these

subclasses impermissible fail-safe classes, since class membership would depend on whether or

not the Defendants were found liable for overcharging.” 298 F.R.D. at 69. Judge Spatt rewrote the

definitions to remove reference to “excessive fees” because whether or not the fees were excessive

“remains an unresolved and disputed issue.” Id. at 70. Here, however, Plaintiff’s entire class

definition rests on loans exceeding their “costs of attendance.” Unlike in Spread Enterprises, the

class definition cannot be rewritten. Without “cost of attendance” there is no class.

                       b.      Each Loan’s Tax And Bankruptcy Treatment Will
                               Impact Whether They Are Qualified Loans.

       Beyond “cost of attendance” and loan stacks, there are individualized questions relating to

each borrower’s individual decisions about the tax and bankruptcy treatment of their loans.

       Plaintiff’s theory of liability depends on only “qualified education loans” as defined in IRS

Code Section 221(d) being non-dischargeable under Section 523(a)(8)(B). (See generally, Pl. Br.).

There is an individualized question lurking in the intersection of these two statutes. The chief

purpose of Section 221 is to allow for a borrower to deduct the interest he or she pays on a

“qualified education loan.” See, e.g., 26 C.F.R. § 1.221–1. In order to deduct interest on a loan it

must be a “qualified education loan.” See 26 U.S.C. § 221(a); see also In re Mallett, 625 B.R. 553,

554 (Bankr. M.D. Fla. 2021). Accordingly, the way an individual borrower treated his or her loans

for tax purposes informs that loans status as a “qualified education loan.”




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         Whether or not a particular class member has taken the Section 221 deduction can be

dispositive of whether or not the loan is a “qualified education loan.” Id. As the Mallett court

explained:

         The Debtor could not have claimed that tax deduction unless the loan … met the
         definition of a “qualified education loan” under Internal Revenue Code § 221(d).
         The Debtor’s statements on her tax returns are therefore an evidentiary admission
         that the loan … is a “qualified education loan.”

         Put another way, the Debtor’s representation on her tax returns – under the penalty
         of perjury – that the interest on her loan … was tax deductible is the equivalent of
         her sitting on the stand and testifying under oath that the loan … met all the
         requirements of a “qualified education loan” under Internal Revenue Code §
         221(d)(1).

Id.26

         Similar issues arise with respect to how each class member treated the loan claimed to have

exceeded his or her “cost of attendance” in their bankruptcy. Determining the effect of bankruptcy

treatment requires answering: (i) whether the debtor’s petition listed his or her loan as a non-

dischargeable “student loan;” (ii) whether the debtor filed an adversary proceeding seeking a

determination as to whether her debt was in fact dischargeable under § 523(a)(8); and (iii) whether

the debtor acknowledged that her loan was a qualified education loan by making an undue hardship

motion or any other representation to the court. See In re Desormes, No. 10-cv-50079, 2012 WL

4106765, at *2 (Bankr. D. Conn. Sept. 18, 2012) (“It is not insignificant that in the plaintiff’s

bankruptcy Schedule F …, the plaintiff listed the Note as the “2008 Promissory Note[,] Tuition

Debt”)” (emphasis in original)). These questions cannot be answered on a class wide basis

employing common proof. They would need to be answered on a debtor by debtor basis, which

requires the Court to review each putative class member’s bankruptcy.


26
  Although the Mallett court acknowledge that “an evidentiary admission, of course, can be controverted or explained
away,” In re Mallett, 625 B.R. at 554, that controversion would of course require a fact-intensive mini-trial that cannot
and should not occur in a class proceeding.

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       For the purposes of a predominance analysis, bankruptcy and tax treatment raise a second

set of individualized questions for every borrower who claims they have an educational loan that

is not a “qualified education loan” because it exceeded their “cost of attendance.”

                       c.      Whether Or Not A Loan Was Guaranteed Informs
                               Whether It Even Matters If It Was Qualified.

       There is finally an individualized question about whether or not the loans a borrower claims

exceeded his or her “cost of attendance” are even subject to the analysis Plaintiff asserts. The NCT

Loan illustrates this in concrete terms. It was made under a program guaranteed by a non-profit.

       While Section 523(a)(8)(B) requires that a loan be a “qualified education loan” to be non-

dischargeable, Section 523(a)(8)(A)(i) does not. It exempts from discharge:

       (i)     an educational benefit overpayment or loan made, insured, or guaranteed by
               a governmental unit, or made under any program funded in whole or in part
               by a governmental unit or nonprofit institution; …

       The NCT Loan was made as part of the Bank One EducationOne® Loan Program. (See

Exs. S, T). That loan program was guaranteed by The Education Resources Institute (“TERI”), a

non-profit. (See Dkt. No. 338, ¶ 6). The Second Circuit has held that TERI guarantying a loan

program constitutes partial funding of that program sufficient to meet the requirements of Section

523(a)(8)(A)(i) such that loans made under the program are non-dischargeable. See O’Brien v.

First Marblehead Education Resources, Inc. (In re O’Brien), 419 F.3d 104, 107 (2d Cir. 2005).

Accordingly, the NCT Loan is non-dischargeable under Section 523(a)(8)(A)(i) independent of

Plaintiff’s “cost of attendance” and the requirements of Section 523(a)(8)(B).

       On a granular level, this means that Plaintiff’s claims on the NCT Loan are not part of the

class she seeks to certify. (See Section II.A., supra). On a class-wide level, it means that there is

an inquiry that needs to take place plaintiff-by-plaintiff, loan-by-loan to determine whether a loan

is part of a program that is guaranteed by a non-profit. This is not a simple inquiry, as demonstrated


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by the objections that Plaintiff has attempted to raise regarding TERI’s status on her individual

motion for partial summary judgment. (See Dkt. No. 244, pp. 18-39; Dkt. No. 336, pp. 22-38). It

is a necessary inquiry, however, because it affects who can bring a claim since it obviates the

theory behind Plaintiff’s causes of action for many loans. Moreover, it is not a TERI specific

inquiry; it is not a common question. As detailed in the servicer defendants’ briefing, many non-

profits guaranty loan programs. The details of those guaranties, the programs they were made to

cover, and the non-profits themselves would all need to be investigated on an individual basis.

               2.      A Class Action Is Not Superior To Other Available
                       Methods For Pursuing Claims Against Defendants.

       The individualized questions that predominate around each putative class member

regarding 1) their “cost of attendance” and loan stack, 2) the tax and bankruptcy treatment of their

loans, and 3) whether their loans were guaranteed by a non-profit, are also relevant to the

superiority requirements of Rule 23(b)(3).

       In order to certify a class under Rule 23(b)(3), the Court must determine that a class action

is “superior to other available methods for fairly and efficiently adjudicating the controversy.”

FED.R.CIV.P. 23(b)(3). Superiority asks courts to balance, in terms of fairness and efficiency, the

advantages of a class action against those of alternative available methods of adjudication, e.g.,

individual actions. See FED. R. CIV. P. 23 Advisory Committee Notes, 1966 Amendment, 28

U.S.C.A. Rule 23, at 385. The factors relevant in determining whether the “superiority”

requirement is met include:

       (A) the interest of the members of the class in individually controlling the
       prosecution or defense of separate actions; (B) the extent and nature of any
       litigation concerning the controversy already commenced by or against members
       of the class; (C) the desirability or undesirability of concentrating the litigation of
       the claims in the particular forum; and (D) the difficulties likely to be encountered
       in the management of a class action.



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FED. R. CIV. P. 23(b)(3); see also Parker v. Time Warner Entm’t Co., 331 F.3d 13, 21 (2d Cir.

2003).

         Two of these factors have outsized importance in this case. The difficulties in managing

this case as a class action make it administratively unfeasible. And, the members of the class have

a very specific interest in controlling their own actions.

                        a.      Plaintiff’s Proposed Class Action Is
                                Not Administratively Feasible.

         Plaintiff’s proposed class action is not superior to other methods of adjudicating the claims

alleged because of the numerous individualized issues discussed thus far. Each one of those issues

will require a mini-trial to resolve. The management issues created by those, and the resulting

administrative infeasibility, are another reason why class action treatment is improper here.

         When individualized inquiries are central to the case, a class action is extremely difficult

to manage. Sparkman v. Zwicker & Assocs., P. C., 374 F. Supp. 2d 293, 298 n. 2 (E.D.N.Y. 2005).

The “greater the number of individual issues, the less likely superiority can be established.” Cohn

v. Mass. Mut. Life Ins. Co., 189 F.R.D. 209, 219 (D. Conn. 1999) (alteration omitted) (quoting

Castano, 84 F.3d at 745 n. 19); Spagnola v. Chubb Corp., 264 F.R.D. 76, 99 (S.D.N.Y. 2010).

         If a court is required to conduct a series of mini-trials in order to determine whether each

participant has been damaged, a class action is not a feasible, let alone superior, method for the

adjudication of the putative class’ claims. Dunnigan v. Metropolitan Life Ins. Co., 214 F.R.D.

125, 142 (S.D.N.Y. 2003). As shown throughout this brief, this case is rife with individual factual

and legal issues. Certification will still leave numerous defenses to be decided on an individual

basis. But, more concerning, the threshold question of determining who is a member of the class

requires individualized inquiries to determine who is and who cannot be a class member.




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       The intractable manageability problem this creates is thrown into stark relief when the

Court considers the notice required by Rule 23(c)(2)(B), which requires:

       For (b)(3) Classes. For any class certified under Rule 23(b)(3) – or upon ordering
       notice under Rule 23(e)(1) to a class proposed to be certified for purposes of
       settlement under Rule 23(b)(3) – the court must direct to class members the best
       notice that is practicable under the circumstances, including individual notice to all
       members who can be identified through reasonable effort.

Notice is not discretionary. Eisen v. Carlisle and Jacquelin, 417 U.S. 156, 176 (1974). It is a

requirement rooted in the fact that Rule 23 “was intended to insure that the judgment, whether

favorable or not, would bind all class members who did not request exclusion from the suit.” Id.

Accordingly, “each class member who can be identified through reasonable effort must be notified

that he may request exclusion from the action and thereby preserve his opportunity to press his

claim separately ….” Id. This mandatory notice and the corollary right for a putative class member

to opt out is one of the “procedural protections attending the (b)(3) class.” Dukes, 564 U.S. at 362.

This notice must be given before the merits of the case are adjudicated. Schwarzschild v. Tse, 69

F.3d 293, 296 (9th Cir. 1995). That notice is impossible to give here.

       Class members are not even ascertainable to be given notice of this suit without

individualized merits determinations. It is, therefore, not “administratively feasible for the court to

determine whether a particular individual is a member” of the proposed class. Petrobras, 862 F.3d

at 266 (citing Brecher, 806 F.3d at 24). The individualized questions that predominate throughout

this case echo again.

       This is not simply some technical defect that can be remedied or managed “down the road.”

It implicates questions of due process. The Supreme Court has made clear that Rule 23(b)(3)’s

manageability test is satisfied only if trial of the case as a class action can be accomplished

“without sacrificing procedural fairness” and without “abridg[ing], enlarging] or modifying] any

substantive right.” Amchem Prods., 521 U.S. at 613, 615. The Rules Enabling Act guarantees a
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class action defendant’s due process right to assert a defense against each and every class member.

See 28 U.S.C. § 2072; see also Amchem Prods., 521 U.S. at 613; Dukes, 564 U.S. at 367; Honda

Motor Co. v. Oberg, 512 U.S. 415, 430 (1994). “What this means, as a practical matter, is that, in

an effort to achieve manageability, courts may not relieve plaintiffs of the burden of proving the

individualized elements of their claims … and may not deprive defendants of the right to put on

individualized evidence, to raise individualized defenses, and to receive a verdict on the

individualized facts of each class member’s claims.” Evan M. Tager, The Constitutional

Limitations on Class Actions, Mealy’s Litig. Rpt.: Class Actions, January 2001, at 35.

        In the present instance this means Defendants must be given the opportunity to fully litigate

the issues relating to each borrower’s “cost of attendance,” loan stack, tax and bankruptcy

treatment of their loans, and whether or not each loan is non-dischargeable under a different

provision of Section 523(a)(8). For the past three years, the Defendants have been litigating some

of these issues with the named Plaintiff. It has involved extensive discovery from numerous third

parties, including depositions. If Plaintiff is correct that her class runs into the thousands, this

means that process would need to be repeated thousands of times, after which the Court would

need to conduct a trial that would presumably take years to complete, Plaintiff’s failure to present

a detailed notice or trial plan in this case is telling and should cause the Court to carefully scrutinize

what comes next if the proposed class is certified.

                        b.      Individual Plaintiffs Have An Interest
                                In Controlling Their Own Cases.

        The problems endemic to determining who is a member of Plaintiff’s proposed class take

on an added dimension in light of the potential fallout from Plaintiff’s causes of action. This

implicates “the interest of the members of the class in individually controlling the prosecution or

defense of separate actions.” See FED. R. CIV. P. 23(b)(3)(A); see also, e.g., Adkins, 307 F.R.D. at


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147 (no superiority when “various factors have different effects on borrowers and lenders in

combination than they have in isolation.”).

       As touched on above, there is an individualized issue regarding the manner in which a

potential class member treated their student loans for tax purposes. (See Section III.A.1.b., supra).

But the relief Plaintiff is seeking and the theories she is relying on will also have an effect on

putative class members. There will be borrowers swept up into Plaintiff’s proposed class, who

took a tax deduction under IRS Code Section 221(a) and in doing so affirmed that the loan was a

“qualified education loan.” See In re Mallett, 625 B.R. at 554. As part of the class, they would be

taking the position that loans they swore were “qualified education loans” are not. They are

unwittingly transformed into potential perjurers. This is another reason why the individualized

issues and notice are so important here. No one can identify the class members without an

individualized inquiry to even ask if this is a risk they want to take.

       Clearly a party has an interest in maintaining the prosecution of his or her own action if

that action can result in tax penalties or worse.

       B.      Plaintiff Does Not Meet The Requirements For An
               Injunction/Declaratory Relief Class Under 23(b)(2).

       A Rule 23(b)(2) class will only be certified if “the party opposing the class has acted or

refused to act on grounds that apply generally to the class, so that final injunctive relief or

corresponding declaratory relief is appropriate respecting the class as a whole.” Rule 23(b)(2)

classes are mandatory. Dukes, 564 U.S. at 360. Plaintiff’s request for certification under Rule

23(b)(2) falls short in three distinct ways.

       First, a Rule 23(b)(2) class will not be certified if “monetary relief is not incidental to the

injunctive or declaratory relief.” Id.; see also Nationwide Life Ins. Co. v. Haddock, 460 Fed. Appx.

26, 29 (2d Cir. 2012). Monetary relief is not incidental when providing it “entail[s] complex


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individualized determinations.” Dukes, 564 U.S. at 366. Plaintiff seeks monetary relief. (See Am.

Compl.). It is the main thrust of this case. Plaintiff asks, among other forms of relief, that every

class member be repaid the amount that was collected from that individual on the loan that is

purported to have been discharged. This is precisely the type of individual determination that

precludes a finding that the monetary damages are incidental under 23(b)(2).

       Second, where the named plaintiff does not have standing to seek an injunction, she cannot

seek injunctive relief on behalf of a putative class. Albert v. Blue Diamond Growers, 151 F. Supp.

3d 412, 417 (S.D.N.Y. 2015) (citing Dodge v. Cty. of Orange, 103 Fed. Appx. 688, 690 (2d Cir.

2004))); Nicosia v. Amazon.com, Inc., 84 F. Supp. 3d 142, 158 (E.D.N.Y. 2015) (holding plaintiff

“must personally have standing to secure prospective relief on behalf of a class” and the named

plaintiff lacked personal standing). “To establish standing for an injunction, a plaintiff must not

merely allege past injury, but also a risk of future harm.” Young Advocates for Fair Education v.

Cuomo, 359 F. Supp. 3d 215, 230 (E.D.N.Y. 2019) (quotation omitted).

       Plaintiff cannot demonstrate that she has any loans that exceeded her “cost of attendance”

at Penn Law School. This is the reason why she does not fit within her own class. It also means

that she does not allege a past injury or any risk of future harm and, thus, has no standing to seek

injunctive relief for herself or a Rule 23(b)(2) class. See In re WorldCom, Inc., 358 B.R. at 597

(quoting Cent. States Southeast & Southwest Areas, 433 F.3d at 199; O’Shea, 414 U.S. at 494).

       Third, classes certified under Rule 23(b)(2) must also be cohesive. Laumann v. Nat’l

Hockey League, 105 F. Supp. 3d 384, 395 (S.D.N.Y. May 14, 2015) (citing Newberg on Class

Actions § 4:34; Barnes v. American Tobacco Co., 161 F.3d 127, 143 (3d Cir. 1998)); see also In

re Rezulin Prod. Liab. Litig., 210 F.R.D. 61, 75 (S.D.N.Y. 2002) (“In short, although there is no




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predominance or superiority requirement under Rule 23(b)(2), classes certified pursuant to it must

be cohesive.”).

       Cohesiveness is another way of addressing in the context of Rule 23(b)(2) the requirement

that common questions of law or fact common to class members predominate. Sullivan v. Saint-

Gobain Performance Plastics Corporation, No. 5:16-cv-125, 2019 WL 8272995, *13 (D. Vt. Aug.

23, 2019) (citing Amchem Prods., 521 U.S. at 623); Brooks v. Roberts, 251 F. Supp. 3d 401, 420

(N.D.N.Y. 2017) (Rule 23(b)(2)’s requirement of cohesiveness ensures that the commonality

requirement of Rule 23(a) is respected in a Rule 23(b)(2) analysis.). Courts have raised

cohesiveness concerns in instances where there are “significant questions, not only of damages but

of liability and defenses of liability, … affecting the individuals in different ways.” Amchem

Prods., 521 U.S. at 625 (citations omitted); see also Gates v. Rohm & Haas Co., 655 F.3d 255,

271 (3d Cir. 2011).

       Here, as shown above, Plaintiff does not – and cannot – demonstrate that there are common

questions such that she meets the requirements of Rule 23(a). That means that there is no cohesive

group to justify certifying a class under Rule 23(b)(2).

       C.         Plaintiff Does Not Meet The Requirements For A
                  “Prejudice Class” Under 23(b)(1)(A).

       Rule 23(b)(1)(A) allows class certification where separate actions by individual class

members would risk “inconsistent or varying adjudications with respect to individual class

members that would establish incompatible standards of conduct for the party opposing the

class[.]” FED. R. CIV. P. 23(b)(1)(A). “Rule 23(b)(1)(A) takes in cases where the party is obliged

by law to treat the members of the class alike (a utility acting toward customers; a government

imposing a tax), or where the party must treat all alike as a matter of practical necessity (a riparian




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owner using water as against downriver owners).” Amchem Prods., 521 U.S. at 614 (quotation

omitted).

       “[I]nconsistent verdicts on liability or damages do not alone give rise to incompatible

standards of conduct.” Carollo v. United Capital Corp., --- F. Supp. 3d ----, 2021 WL 11152947,

*11 (N.D.N.Y. Mar. 24, 2021) (quotation omitted). Otherwise, any circumstance in which a

defendant’s course of action could have harmed multiple plaintiffs would be entitled to class

certification under Rule 23(b)(1)(A) as a matter of course. Id. (citing Petrolito v. Arrow Fin. Servs.,

LLC, 221 F.R.D. 303, 313 (D. Conn. 2004) (“[I]f compensatory damage actions can be certified

under Rule 23(b)(1)(A), then all actions could be certified under the section, ... making the other

sub-sections of Rule 23 meaningless”).

       Plaintiff argues that Rule 23(b)(1)(A) applies because:

       The issues before the Court are common legal questions that are the same for the
       entire class. They should be answered the same for everyone in the class. …
       Separate adjudications could result in some loans being declared discharged and
       other loans, under virtually identical facts, and under the same Bankruptcy Code
       provisions, being declared nondischargeable. Some courts may hold that the exact
       same loans are discharged and others may not, or that debtors are entitled to
       restitution and others may not.

(Pl. Br., p. 21). She gives her game away with this argument.

       First, the “entitlement to restitution” Plaintiff envisions is compensatory damages. Classes

seeking compensatory damages are not appropriate for certification under Rule 23(b)(1)(A). See,

e.g., Russell v. Kohl’s Department Stores, Inc., No. 15-cv-01143-RGK, 2015 WL 12748629, * 3

(C.D. Cal. Dec. 4, 2015) (class certification is inappropriate under Rule 23(b)(1)(A) when relief

sought contains request for restitution).

       Second, when Plaintiff states there is the possibility of “some loans being declared

discharged and other loans, under virtually identical facts, and under the same Bankruptcy Code

provisions, being declared nondischargeable” she acknowledges that there will need to be
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individualized inquiries into each borrower’s situation. There are not “virtually identical facts” if

the comparison is simply a dollar to dollar comparison of two numbers. Plaintiff is seeking to

certify a 23(b)(1)(A) precisely to end run the individualized questions that keep her from

demonstrating an ascertainable class that meets any of the requirements of Rule 23(a).

                                         CONCLUSION

       For the reasons stated above the Court should deny Plaintiff’s motion.



 Dated: June 29, 2021

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                      APPENDIX A
            20 U.S.C. § 1087ll (Current Version)
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§ 1087ll. Cost of attendance, 20 USCA § 1087ll




  United States Code Annotated
   Title 20. Education
      Chapter 28. Higher Education Resources and Student Assistance (Refs & Annos)
        Subchapter IV. Student Assistance (Refs & Annos)
          Part F. Need Analysis (Refs & Annos)

                                                     20 U.S.C.A. § 1087ll

                                                § 1087ll. Cost of attendance

                                                    Effective: July 1, 2010
                                                         Currentness


For the purpose of this subchapter, the term “cost of attendance” means--


  (1) tuition and fees normally assessed a student carrying the same academic workload as determined by the institution, and
  including costs for rental or purchase of any equipment, materials, or supplies required of all students in the same course
  of study;


  (2) an allowance for books, supplies, transportation, and miscellaneous personal expenses, including a reasonable allowance
  for the documented rental or purchase of a personal computer, for a student attending the institution on at least a half-time
  basis, as determined by the institution;


  (3) an allowance (as determined by the institution) for room and board costs incurred by the student which--


    (A) shall be an allowance determined by the institution for a student without dependents residing at home with parents;


    (B) for students without dependents residing in institutionally owned or operated housing, shall be a standard allowance
    determined by the institution based on the amount normally assessed most of its residents for room and board;


    (C) for students who live in housing located on a military base or for which a basic allowance is provided under section
    403(b) of Title 37, shall be an allowance based on the expenses reasonably incurred by such students for board but not
    for room; and


    (D) for all other students shall be an allowance based on the expenses reasonably incurred by such students for room and
    board;


  (4) for less than half-time students (as determined by the institution), tuition and fees and an allowance for only--


    (A) books, supplies, and transportation (as determined by the institution);




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    (B) dependent care expenses (determined in accordance with paragraph (8)); and


    (C) room and board costs (determined in accordance with paragraph (3)), except that a student may receive an allowance
    for such costs under this subparagraph for not more than 3 semesters or the equivalent, of which not more than 2 semesters
    or the equivalent may be consecutive;


  (5) for a student engaged in a program of study by correspondence, only tuition and fees and, if required, books and supplies,
  travel, and room and board costs incurred specifically in fulfilling a required period of residential training;


  (6) for incarcerated students only tuition and fees and, if required, books and supplies;


  (7) for a student enrolled in an academic program in a program of study abroad approved for credit by the student's home
  institution, reasonable costs associated with such study (as determined by the institution at which such student is enrolled);


  (8) for a student with one or more dependents, an allowance based on the estimated actual expenses incurred for such
  dependent care, based on the number and age of such dependents, except that--


    (A) such allowance shall not exceed the reasonable cost in the community in which such student resides for the kind of
    care provided; and


    (B) the period for which dependent care is required includes, but is not limited to, class-time, study-time, field work,
    internships, and commuting time;


  (9) for a student with a disability, an allowance (as determined by the institution) for those expenses related to the student's
  disability, including special services, personal assistance, transportation, equipment, and supplies that are reasonably incurred
  and not provided for by other assisting agencies;


  (10) for a student receiving all or part of the student's instruction by means of telecommunications technology, no distinction
  shall be made with respect to the mode of instruction in determining costs;


  (11) for a student engaged in a work experience under a cooperative education program, an allowance for reasonable costs
  associated with such employment (as determined by the institution);


  (12) for a student who receives a loan under this or any other Federal law, or, at the option of the institution, a conventional
  student loan incurred by the student to cover a student's cost of attendance at the institution, an allowance for the actual cost
  of any loan fee, origination fee, or insurance premium charged to such student or such parent on such loan, or the average
  cost of any such fee or premium charged by the Secretary, lender, or guaranty agency making or insuring such loan, as the
  case may be; and




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  (13) at the option of the institution, for a student in a program requiring professional licensure or certification, the one-time
  cost of obtaining the first professional credentials (as determined by the institution).


                                                           CREDIT(S)

  (Pub.L. 89-329, Title IV, § 472, as added Pub.L. 99-498, Title IV, § 406(a), Oct. 17, 1986, 100 Stat. 1454; amended Pub.L.
102-325, Title IV, § 471(a), July 23, 1992, 106 Stat. 585; Pub.L. 103-208, § 2(g)(1), Dec. 20, 1993, 107 Stat. 2471; Pub.L.
105-244, Title IV, § 471, Oct. 7, 1998, 112 Stat. 1729; Pub.L. 109-171, Title VIII, § 8016, Feb. 8, 2006, 120 Stat. 172; Pub.L.
110-315, Title IV, § 471(a), Aug. 14, 2008, 122 Stat. 3269.)


20 U.S.C.A. § 1087ll, 20 USCA § 1087ll
Current through PL 117-17 with the exception of PL 116-283, Div. A, Title XVIII, which takes effect January 1, 2022.

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                      APPENDIX B
20 U.S.C. § 1087ll (Version in Effect on August 5, 1997)
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  United States Code Annotated
   Title 20. Education
      Chapter 28. Higher Education Resources and Student Assistance (Refs & Annos)
        Subchapter IV. Student Assistance (Refs & Annos)
          Part E. Need Analysis (Refs & Annos)

                           This section has been updated. Click here for the updated version.

                                                      20 U.S.C.A. § 1087ll

                                                  § 1087ll. Cost of attendance

                                   Effective: [See Text Amendments] to October 6, 1998


For the purpose of this subchapter and part C of subchapter I of chapter 34 of Title 42, the term “cost of attendance” means--

  (1) tuition and fees normally assessed a student carrying the same academic workload as determined by the institution, and
  including costs for rental or purchase of any equipment, materials, or supplies required of all students in the same course
  of study;

  (2) an allowance for books, supplies, transportation, and miscellaneous personal expenses for a student attending the
  institution on at least a half-time basis, as determined by the institution;

  (3) an allowance (as determined by the institution) for room and board costs incurred by the student which--

     (A) shall be an allowance of not less than $1,500 for a student without dependents residing at home with parents;

     (B) for students without dependents residing in institutionally owned or operated housing, shall be a standard allowance
     determined by the institution based on the amount normally assessed most of its residents for room and board; and

     (C) for all other students shall be an allowance based on the expenses reasonably incurred by such students for room and
     board, except that the amount may not be less than $2,500;

  (4) for less than half-time students (as determined by the institution) tuition and fees and an allowance for only books, supplies,
  and transportation (as determined by the institution) and dependent care expenses (in accordance with paragraph (8));

  (5) for a student engaged in a program of study by correspondence, only tuition and fees and, if required, books and supplies,
  travel, and room and board costs incurred specifically in fulfilling a required period of residential training;

  (6) for incarcerated students only tuition and fees and, if required, books and supplies;

  (7) for a student enrolled in an academic program in a program of study abroad approved for credit by the student's home
  institution, reasonable costs associated with such study (as determined by the institution at which such student is enrolled);

  (8) for a student with one or more dependents, an allowance based on the estimated actual expenses incurred for such
  dependent care, based on the number and age of such dependents, except that--




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    (A) such allowance shall not exceed the reasonable cost in the community in which such student resides for the kind of
    care provided; and

    (B) the period for which dependent care is required includes, but is not limited to, class-time, study-time, field work,
    internships, and commuting time;

  (9) for a student with a disability, an allowance (as determined by the institution) for those expenses related to the student's
  disability, including special services, personal assistance, transportation, equipment, and supplies that are reasonably incurred
  and not provided for by other assisting agencies;

  (10) for a student receiving all or part of the student's instruction by means of telecommunications technology, no distinction
  shall be made with respect to the mode of instruction in determining costs, but this paragraph shall not be construed to permit
  including the cost of rental or purchase of equipment;

  (11) for a student placed in a work experience under a cooperative education program, an allowance for reasonable costs
  associated with such employment (as determined by the institution); and

  (12) for a student who receives a loan under this or any other Federal law, or, at the option of the institution, a conventional
  student loan incurred by the student to cover a student's cost of attendance at the institution, an allowance for the actual cost
  of any loan fee, origination fee, or insurance premium charged to such student or such parent on such loan, or the average
  cost of any such fee or premium charged by the Secretary, lender, or guaranty agency making or insuring such loan, as the
  case may be.


                                                           CREDIT(S)

  (Pub.L. 89-329, Title IV, § 472, as added Pub.L. 99-498, Title IV, § 406(a), Oct. 17, 1986, 100 Stat. 1454.)

  (As amended Pub.L. 102-325, Title IV, § 471(a), July 23, 1992, 106 Stat. 585; Pub.L. 103-208, § 2(g)(1), Dec. 20, 1993,
107 Stat. 2471.)

20 U.S.C.A. § 1087ll, 20 USCA § 1087ll
Current through PL 117-17 with the exception of PL 116-283, Div. A, Title XVIII, which takes effect January 1, 2022.

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                        APPENDIX C
20 U.S.C. § 1087ll (Comparison Between Current Version and
          the Version in Effect on August 5, 1997)
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Showing differences between versions effective [See Text Amendments] to October 6, 1998 and July 1, 2010 [current]
Key:deleted text added text
12 deletions · 16 additions
                                                  20 U.S.C.A. § 1087ll

                                                § 1087ll. Cost of attendance



For the purpose of this subchapter and part C of subchapter I of chapter 34 of Title 42 , the term “cost of attendance” means--

  (1) tuition and fees normally assessed a student carrying the same academic workload as determined by the institution, and
  including costs for rental or purchase of any equipment, materials, or supplies required of all students in the same course
  of study;

  (2) an allowance for books, supplies, transportation, and miscellaneous personal expenses , including a reasonable
  allowance for the documented rental or purchase of a personal computer, for a student attending the institution on
  at least a half-time basis, as determined by the institution;

  (3) an allowance (as determined by the institution) for room and board costs incurred by the student which--

     (A) shall be an allowance of not less than $1,500 determined by the institution for a student without dependents
     residing at home with parents;

     (B) for students without dependents residing in institutionally owned or operated housing, shall be a standard allowance
     determined by the institution based on the amount normally assessed most of its residents for room and board; and

     (C) for students who live in housing located on a military base or for which a basic allowance is provided under
     section 403(b) of Title 37, shall be an allowance based on the expenses reasonably incurred by such students for
     board but not for room; and

     (C D ) for all other students shall be an allowance based on the expenses reasonably incurred by such students for room
     and board, except that the amount may not be less than $2,500 ;

  (4) for less than half-time students (as determined by the institution) , tuition and fees and an allowance for only books,
  supplies, and transportation (as determined by the institution) and dependent care expenses (in accordance with paragraph
  (8)); --

     (A) books, supplies, and transportation (as determined by the institution);

     (B) dependent care expenses (determined in accordance with paragraph (8)); and

     (C) room and board costs (determined in accordance with paragraph (3)), except that a student may receive an
     allowance for such costs under this subparagraph for not more than 3 semesters or the equivalent, of which not
     more than 2 semesters or the equivalent may be consecutive;

  (5) for a student engaged in a program of study by correspondence, only tuition and fees and, if required, books and supplies,
  travel, and room and board costs incurred specifically in fulfilling a required period of residential training;



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  (6) for incarcerated students only tuition and fees and, if required, books and supplies;

  (7) for a student enrolled in an academic program in a program of study abroad approved for credit by the student's home
  institution, reasonable costs associated with such study (as determined by the institution at which such student is enrolled);

  (8) for a student with one or more dependents, an allowance based on the estimated actual expenses incurred for such
  dependent care, based on the number and age of such dependents, except that--

     (A) such allowance shall not exceed the reasonable cost in the community in which such student resides for the kind of
     care provided; and

     (B) the period for which dependent care is required includes, but is not limited to, class-time, study-time, field work,
     internships, and commuting time;

  (9) for a student with a disability, an allowance (as determined by the institution) for those expenses related to the student's
  disability, including special services, personal assistance, transportation, equipment, and supplies that are reasonably incurred
  and not provided for by other assisting agencies;

  (10) for a student receiving all or part of the student's instruction by means of telecommunications technology, no distinction
  shall be made with respect to the mode of instruction in determining costs, but this paragraph shall not be construed to permit
  including the cost of rental or purchase of equipment ;

  (11) for a student placed engaged in a work experience under a cooperative education program, an allowance for reasonable
  costs associated with such employment (as determined by the institution); and

  (12) for a student who receives a loan under this or any other Federal law, or, at the option of the institution, a conventional
  student loan incurred by the student to cover a student's cost of attendance at the institution, an allowance for the actual cost
  of any loan fee, origination fee, or insurance premium charged to such student or such parent on such loan, or the average
  cost of any such fee or premium charged by the Secretary, lender, or guaranty agency making or insuring such loan, as the
  case may be. ; and

  (13) at the option of the institution, for a student in a program requiring professional licensure or certification, the
  one-time cost of obtaining the first professional credentials (as determined by the institution).


Credits
(Pub.L. 89-329, Title IV, § 472, as added Pub.L. 99-498, Title IV, § 406(a), Oct. 17, 1986, 100 Stat. 1454.)

(As Pub.L. 89-329, Title IV, § 472, as added Pub.L. 99-498, Title IV, § 406(a), Oct. 17, 1986, 100 Stat. 1454; amended
Pub.L. 102-325, Title IV, § 471(a), July 23, 1992, 106 Stat. 585; Pub.L. 103-208, § 2(g)(1), Dec. 20, 1993, 107 Stat. 2471 ;
Pub.L. 105-244, Title IV, § 471, Oct. 7, 1998, 112 Stat. 1729; Pub.L. 109-171, Title VIII, § 8016, Feb. 8, 2006, 120 Stat.
172; Pub.L. 110-315, Title IV, § 471(a), Aug. 14, 2008, 122 Stat. 3269.)


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                                 CERTIFICATE OF SERVICE


I hereby certify that on the 29th day of June, 2021, I caused a true and correct copy of the
foregoing document to be served via CM/ECF upon all parties entitled to notice.

                                                     /s/ Gregory T. Casamento
                                                     Gregory T. Casamento
